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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

 BADER FARMS, INC.,                            )
                                               )
                                               )
        Plaintiff,                             )
                                               )
        v.                                     )       Case No. 1:16-cv-00299
                                               )
 MONSANTO CO., et al.,                         )
                                               )       JURY TRIAL DEMANDED
        Defendant.                             )



     PLAINTIFF’S OPPOSITION TO BASF CORPORATION’S ALTERNATIVE
                       MOTION FOR NEW TRIAL 1




 1
   This brief is submitted in 13-point font for text and 12-point font for footnotes at the Court’s
 request. It is 68 pages in 12-point font for text and 10-point font for footnotes.

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        BASF fails to articulate any error—much less prejudicial error—resulting in a

 miscarriage of justice deserving of a new trial.

                                        Legal Standard

        The district court may order a new trial “where it is convinced that the verdict was

 unsupported by the evidence” or that “prejudicial error was committed during the

 trial.” White v. United States, No. 4:15CV1252 SNLJ, 2019 WL 1518286, at *1 (E.D. Mo.

 Apr. 8, 2019) (citing Hannah v. Haskins, 612 F.2d 373, 376 (8th Cir. 1980)). A new trial

 should only be granted to “avoid a miscarriage of justice.” Id.; Keller Farms, Inc. v.

 McGarity Flying Serv., LLC, 944 F.3d 975, 984 (8th Cir. 2019) (new trial motions “are

 generally disfavored and will be granted only where a serious miscarriage of justice may

 have occurred.”).

        With respect to legal errors, a “‘miscarriage of justice’ does not result whenever

 there are inaccuracies or errors at trial; instead, the party seeking a new trial must

 demonstrate that there was prejudicial error.” Trickey v. Kaman Indus. Techs. Corp., 705

 F.3d 788, 807 (8th Cir. 2013) (affirming denial of new trial motion). Errors in evidentiary

 rulings   are   prejudicial   “only    where       the   error   likely   affected   the   jury's

 verdict.” Id. (citing Diesel Machinery, Inc. v. B.R. Lee Industries, Inc., 418 F.3d 820, 833

 (8th Cir. 2005)).

        Regarding complaints of instructional error, “A party who objects to an instruction

 or the failure to give an instruction must do so on the record, stating distinctly the matter

 objected to and the grounds for the objection.” Fed. R. Civ. P. 51(c)(1). When followed by

 litigants, Rule 51 affords the district court the opportunity to correct a defective instruction

                                                1
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 and helps “to prevent litigants from ensuring a new trial in the event of an adverse verdict

 by covertly relying on the error.” May v. Nationstar Mortg., LLC, 852 F.3d 806, 819-20

 (8th Cir. 2017) (quoting Mo. Pac. R.R. Co. v. Star City Gravel Co., 592 F.2d 455, 459 (8th

 Cir. 1979)). Rule 51 requires a specific objection to a jury instruction before the jury

 retires, otherwise “a litigant waives the right on appeal to object to a jury instruction on

 those grounds.” Id. (quoting Dupre v. Fru–Con Eng’g Inc., 112 F.3d 329, 333 (8th Cir.

 1997).

          In the absence of a distinct objection, a court will only review for plain error. See

 Fed. R. Civ. P. 51(d)(2); May, 852 F.3d at 820 (citing Rolscreen Co. v. Pella Prods. of St.

 Louis, Inc., 64 F.3d 1202, 1211 (8th Cir. 1995). Plain-error review is narrow and “confined

 to the exceptional case in which error has seriously affected the fairness, integrity, or public

 reputation of the judicial proceedings.” May, 852 F.3d at 820 (citing Slidell, Inc. v.

 Millennium Inorganic Chems., Inc., 460 F.3d 1047, 1054 (8th Cir. 2006)).

          “Where the basis of the motion for a new trial is that the jury’s verdict is against the

 weight of the evidence, the district court’s denial of the motion is virtually unassailable on

 appeal.” Keller Farms, 944 F.3d at 984 (quoting Keenan v. Computer Assocs. Int’l, Inc.,

 13 F. 3d 1266, 1269 (8th Cir. 1994). Reviewing courts consider “the evidence most

 favorably to the verdict.” Id. (quoting Batiste-Davis v. Lincare, Inc., 526 F.3d 377, 381

 (8th Cir. 2008)). “The authority to grant a new trial... is confided almost entirely to the

 exercise of discretion on the part of the trial court.” Sanford v. Crittenden Memorial

 Hospital, 141 F.3d 882, 884 (8th Cir. 1998).



                                                 2
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 I.     THE COURT’S RULINGS ON THE ADMISSION OR EXCLUSION OF
        EXPERT WITNESSES AT TRIAL WAS PROPER.

        A.     The Court’s Orders Permitting Dr. Baldwin’s Testimony Were
               Correct.

        BASF’s raising of hypothetical alternate causes that it claims Dr. Baldwin should

 have considered or challenging his credentials and credibility does not meet the standard

 for a new trial. Evidence sufficient to establish that no reasonable jury could have found

 that dicamba caused or contributed to cause the harm to Bader Farms’ orchards must have

 been brought forth by BASF in the trial record. It is not sufficient for BASF to simply

 reiterate the same opinions of causation that it did (or did not) present to the jury.

        Plaintiff presented voluminous evidence regarding the off-target movement of

 dicamba and resulting damage to Bader Farms. The only alternate cause Defendants’

 experts claimed could have accounted for the scope of the damage to Bader Farms was

 Armillaria root rot. At most, the jury was presented with two conflicting theories of

 causation and it chose between them. Johnson v. Mead Johnson & Co., LLC, 754 F.3d

 557, 564 (8th Cir. 2014) (where experts can reasonably differ, “the jury not the trial court,

 should be the one to decide among the conflicting views of different experts.” (internal

 quotation and citation omitted).

        In the Eighth Circuit, the decision of whether to admit expert testimony lies within

 “the broad discretion of the trial court.” Robinson v. Newell Window Furnishings, Inc.,

 No. 4:10CV1176 JCH, 2012 WL 3043014, *2 (E.D. Mo. July 25, 2012). In this case, the

 Court had multiple opportunities to assess the relevance and reliability of Dr. Ford

 Baldwin’s expert testimony, as BASF admits in its Memorandum in Support of Alternative

                                                3
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 Motion for New Trial. Doc. 582 (“BASF Mem.”), p. 2, fn. 1. The Court’s decision to

 permit Dr. Baldwin’s testimony in all respects was the right result. 2

        By now, the Court is very familiar with Dr. Baldwin’s extensive and distinguished

 background as a weed scientist. The Court has seen firsthand Dr. Baldwin’s ability to

 explain the complexities of the scientific phenomenon related to volatility and off-target

 movement of dicamba and address how the herbicide interacts under real world conditions.

 With 45 years of experience working with a variety of crops, the depth of his knowledge

 and skill is not a surprise. At trial, Dr. Baldwin also demonstrated to the jury the depth of

 his knowledge of all relevant scientific studies on dicamba – new and older formulations –

 and the current state of the science with respect to dicamba. 2/6/2020 Trial Tr. 1367:14-

 1376:1 (Baldwin). 3 Dr. Baldwin’s testimony, as well as his expert reports submitted before

 trial, make it clear that studying and expounding on the effects of volatility, temperature

 inversions, and long-range transport of dicamba is something weed scientists routinely do.

 Id. (volatility studies of many weed scientists), 1346:17-1347:10 (temperature inversion

 studies by Dr. Kevin Bradley), 1347:11-23 (temperature inversion studies by Dr. Jason

 Norsworthy), 1345:1-18 (dicamba volatilizes 72-96 hours); see also B-981 (EPA document

 containing volatility studies by weed scientists).




 2
  The Court has already ruled on all of the issues BASF raises in its motion for new trial. See
 Doc. 275, Order denying Defendants’ joint motion to exclude Dr. Baldwin.
 3
   Exhibit 1 is a compilation of all cited Trial Transcript pages in chronological order, attached.
 Exhibit 2 is a compilation of all cited Plaintiff’s Trial Exhibits in order of Exhibit number. Exhibit
 3 is a compilation of all cited BASF Trial Exhibits. For certain large Exhibits, only the first and
 cited pages are included.
                                                   4
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        It is undisputed that bioindicator crops, such as soybeans, are used to determine

 effects of herbicides on other crops. The evidence in this case showed that Defendants,

 academics, and even the EPA all use this method. Contrary to BASF’s assertions, herbicide

 experts routinely testify regarding a variety of crops and what role, if any, causes other than

 herbicides might play in the damage at issue. In fact, Dr. Baldwin previously testified as

 an expert witness for BASF in a case involving tomatoes and another involving cotton even

 though he is not a “tomato expert” or a “cotton expert.” Id. at 1255:14-1256:9. His role in

 those cases was to determine what effect herbicides were playing in those lawsuits. Id. at

 1256:12-14. That is the same role he assumed in this case.

               1.     Dr. Baldwin Used Appropriate Scientific Methods In Forming
                      His Opinion.

                      a. Dr. Baldwin did not form his opinion before investigating.

        Dr. Baldwin used sound, scientific methodology in forming his conclusions about

 the cause of the damage to Bader Farms’ orchards. He did not, as BASF claims, form his

 opinion before conducting an inspection of Bader Farms. BASF’s argument that Dr.

 Baldwin first formed his opinion and then sought facts to support it is nothing more than a

 repackaging of the April 2017 Affidavit argument raised in Defendants’ Daubert briefing

 and motions in limine. The Court ruled that if Defendants wished to challenge Dr.

 Baldwin’s credibility or methodology, they were free to do so on cross examination at trial.

 Doc. 275, p. 7.

        At trial, Dr. Baldwin was cross examined extensively by defense counsel on this

 issue and his testimony was crystal clear. He testified that, when he inspected the orchards


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 in February 2017, he followed his usual methodology as extensively as he could and

 formed his early opinion. 2/6/2020 Trial Tr. 1384:15-1385:1 (Baldwin). Dr. Baldwin

 offered testimony about the visual observations he made, including about the drift patterns

 and differences in fruiting wood, that led him to the conclusion that dicamba sprayed over

 Xtend crops caused the damage to Bader Farms’ orchards. Id. at 1387:2-24, 1388:9-21;

 see also id. at 1304:10-1306:21. Dr. Baldwin also testified he relied on conversations with

 Dr. Bradley regarding Dr. Bradley’s 2016 observations at Bader Farms, discussions with

 Bill Bader about his observations, as well as Dr. Baldwin’s own observations from

 inspecting soybean fields near Bader Farms. Id. at 1388:9-21; 2/7/2020 Trial Tr. 1497:21-

 1498:12, 1498:16-19 (Baldwin). All of this is not only permissible, but it is an entirely

 appropriate basis for an expert’s opinions and testimony. Johnson, 754 F.3d at 561

 (quoting FRE 703 that an expert’s opinion should be based on “‘facts or data in the case

 that the expert has been made aware of or personally observed.’”). Fed. R. Evid. 703

 permits an expert to base his opinion on information “that the expert has been made aware

 of or personally observed.” Unlike a lay witness, experts are “permitted wide latitude to

 offer opinions, including those that are not based on firsthand knowledge or observations.”

 Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 (1993).

        Dr. Baldwin admitted that in February 2017, there were aspects of his methodology

 that he was unable to employ. Despite that, however, he found sufficient evidence to

 conclude that Bader Farms had been exposed to dicamba sprayed over Xtend crops.

 2/7/2020 Trial Tr. 1508:3-25 (Baldwin).



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        BASF’s claim that Dr. Baldwin didn’t rule out other potential causes in February

 2017 is not true. Defense counsel offered up a number of possible causes, including other

 herbicides, heat, cold, and many others. Dr. Baldwin testified that before he drafted the

 2017 Affidavit, he knew what herbicides Bader Farms was using. 2/6/2020 Trial Tr.

 1390:7 (Baldwin). He also testified that heat is not something that he would have ruled out

 in February. Id. at 1392:13-20. On re-direct, Dr. Baldwin explained why herbicides like

 2,4-D, for instance, could not have caused the damage to Bader Farms, and thus, were easy

 to rule out. “You couldn’t have had a major 2,4-D event on Bader Farms year after year

 without massive cotton injury in the same area. And I’m not aware of a single cotton

 complaint.” 2/7/2020 Trial Tr. 1503:3-15 (Baldwin). Dr. Baldwin also testified that 2,4-

 D is labeled for use in peaches, “but the cotton by itself completely destroys the 2,4-D

 argument in my opinion.” Id. at 1503:24-1504:2. Dr. Baldwin also testified that he was

 able to rule out glyphosate and glufosinate without the need for testing: “symptomology

 is going to tell you that they’re there.” Id. at 1504:3-12.

        Also, with respect to 2017, and Defendants’ criticisms of his opinions, Dr. Baldwin

 testified, “…if I had been wrong in my conclusions from the 2017 visit, then I wouldn’t

 have seen auxin symptoms and all of the other things I observed in subsequent visits. If

 I’d have been wrong, then I just would have been wrong…” Id. at 1508:3-11.

        Dr. Baldwin is a qualified expert. He knows plants and the effect of dicamba on

 sensitive plants. As he testified in one of his depositions before trial,

        …peaches are plants. I mean, herbicides affect plants…all the things you
        develop in your experience over the years – you know, there’s certain


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        principles that apply to plants…and once I saw what was going on up there
        [at Bader Farms], yeah, I could apply that to peaches.

 Doc. 238, p. 10. Dr. Baldwin’s discussions with Bill Bader about various aspects of the

 orchard, including the symptomology Mr. Bader observed in his orchards the prior two

 years and his conversations with Dr. Bradley about what he observed in 2016 are all valid

 and well within the bounds of an expert should do. Johnson, 754 F.3d at 561.

                      b. Dr. Baldwin conducted a thorough investigation that spanned
                         years.

        BASF’s position amounts to an indictment that Dr. Baldwin didn’t jump through

 the hurdles Defendants created to establish causation. There is no requirement that he do

 so and all of the points BASF raises here are easily refuted, as either incorrect on the law

 or the facts.

        First, Defendants’ arguments that Dr. Baldwin’s failure to inspect Bader Farms in

 2015 and 2016 when he wasn’t even an expert witness in this case has been raised

 repeatedly. See e.g., Docs. 217, 313. As addressed above, in forming his opinion, Dr.

 Baldwin is permitted to consider information he obtained from Dr. Bradley, Bill Bader, his

 own observations of the area, and information being generated in the scientific community

 in forming his opinion. Ward v. Target Corp., 2014 WL 251210, at *3 (D. Conn. June 4,

 2014) (finding expert who based conclusions on “his own personal observations, his own

 experience and knowledge, and his review of various materials and conversations with

 other engineering and design professionals” to have relied on “the types of facts or data

 upon which an expert would reasonably rely.”). As the Court acknowledged in its Order

 denying Defendants’ motion to exclude Dr. Baldwin, “Numerous other sources support

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 [his] opinions pertaining to the 2015 and 2016 season.” Doc. 275, p. 7. That other experts,

 like Dr. Bradley and Dr. Prostko, agree with Dr. Baldwin’s conclusions does not mean that

 he failed to properly investigate or that his opinion is not his own and based on sound,

 scientific methods.

        Second, BASF’s outrage over Dr. Baldwin’s failure to conduct analytical testing for

 the presence of dicamba is feigned. On direct examination, Dr. Baldwin was asked about

 an Engenia herbicide launch training document with which he is familiar. That document

 states that BASF does not take samples of plants for off-target movement because “you

 cannot detect it at these rates.       It’s pointless.”    2/6/2020 Trial Tr. 1358:14-1359:2

 (Baldwin). Dr. Baldwin agreed with the statement in the document, saying, “That is

 correct. And they’re the dicamba people.” Id. at 1359:2. Dr. Baldwin chose not to conduct

 analytical testing and addressed the shortcomings of such tests, shortcomings with which

 BASF clearly agrees. Id. at 1356:13-1358:2, 1358:14-1359:2. 4 Nothing in Daubert or

 Rule 702 required him to test. Harrington v. Sunbeam Prods., No. 4:07-CV-1957 CAS,

 2009 WL 701994, *5-6 (E.D. Mo. Mar. 13, 2009) (district court refused to exclude

 plaintiff’s expert where defendant’s expert tested the subject blanket and found no defect,

 plaintiff’s expert did not test the blanket, but relied on other amassed information in support




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   Dr. Baldwin also demonstrated the failings of analytical testing for auxin herbicides as evidenced
 by Dr. Prostko’s tests, which detected 2,4-D in trees that were never sprayed with the herbicide.
 2/6/2020 Trial Tr. 1357:19-1358:12 (Baldwin). In addition, in both his first expert report and his
 rebuttal report in this case, Dr. Baldwin discussed and cited to scientific studies that support this
 view about the unreliability of analytical testing, as Plaintiff explained in its response to
 Defendants’ Daubert motion to exclude Dr. Baldwin. Doc. 238, p. 19-20.


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 of his conclusions, stating “Sunbeam’s post-fire testing of the subject blanket’s safety

 circuit and controls does not conclusively establish that [plaintiff’s expert’s] opinions or

 methods are unreliable…”); Dejana v. Marine Tech., Inc., No. 4:11-CV-1690-JAR, 2013

 WL 6768407, *14 (E.D. Mo. Dec. 20, 2013) (absence of “scientific testing or

 analysis…computer      modeling     or   accident   reconstruction…go      to   weight,   not

 admissibility…”). Moreover, none of Defendants’ own expert witnesses tested any of the

 samples they obtained at Bader Farms for dicamba either. 2/12/2020 Trial Tr. 2235:13-24

 (Schnabel).

        Third, Dr. Baldwin testified at length about the extent of his inspections and research

 in this case and his opinion, based on that, is that Bader Farms’ orchards are being exposed

 to dicamba sprayed over the top of Xtend crops multiple times a year, beginning in 2015.

 2/7/2020 Trial Tr. 1506:19-1508:2 (Baldwin); see also id. at 1466:6-9.

        Defendants continually criticize Dr. Baldwin’s use of the phrase “common sense,”

 but he is using the common sense of a scientist with over 45 years of experience diagnosing

 herbicide injury in sensitive vegetation.      2/6/2020 Trial Tr. 1248:6-11, 1260:13-21

 (Baldwin). He used the information, knowledge, skill, and training he has and diagnosed

 the injury to Bader Farms’ orchards. Over the pendency of this litigation, Dr. Baldwin

 conducted five inspections – two in 2017, two in 2018, and one in 2019. Id. at 1303:12-

 16, 1305:17-18, 1324:5-9, 1333:20-22. Dr. Baldwin testified that, during the course of

 those inspections, his early 2017 opinion that dicamba sprayed over Xtend crops was

 causing the damage to Plaintiff’s orchards was confirmed. For example, Dr. Baldwin

 testified that in the summer of 2017, he observed clear dicamba damage on non-DT

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 soybeans around and including at Bader Farms. Id. at 1306:7-21. That is consistent with

 Dr. Bradley’s data representing the number of acres damaged and the 335 complaints in

 Missouri the summer of 2017, 24 of them in Dunklin County. Id. at 1314:5-17; Pltf-2019

 Exh.

        Dr. Baldwin testified that in all years, he observed dicamba symptomology on other

 indicator plants – kudzu, sycamore, catalpa, and other trees. Id. at 1322:4-1323:17,

 1335:25-1336:12, 1341:7-2.        Dr. Baldwin was resolute that he observed dicamba

 symptomology on Plaintiff’s peach trees. See e.g., id. at 1321:22-1323:4, 1330:1-6,

 1325:12-1326:6, 1334:20-25, 1343:12-25, 1378:16-17; 2/7/20 Trial Tr. 1443:14-21,

 1465:11-16, 1474:2-6, 1478:5-7, 1508:21-25 (Baldwin); Pltf-2174, 2119 (video) Exhs. He

 further testified that the symptomology he observed was more severe in 2018 than in 2017.

 2/6/2020 Trial Tr. 1328:25-1329:17 (Baldwin). Dr. Baldwin compared his observations

 and photos of Bader Farms’ peach trees with those of other scientists who conducted

 studies on the effects of dicamba on peach trees. Id. at 1330:7-23. Again, the multi-year

 inspections of Plaintiff’s farm confirmed Dr. Baldwin’s initial impression of the cause of

 the symptomology and damage at Bader Farms. 2/7/20 Trial Tr. 1508:3-25 (Baldwin). Far

 from reaching a conclusion and finding facts to support that conclusion, Dr. Baldwin’s

 findings are the result of decades of knowledge, skill, training, and experience as a scientist,

 five inspections of Bader Farms, and four years observing the effects of dicamba in

 Southeast Missouri.

        Fourth, Dr. Baldwin’s conclusions about the damage to Bader Farms are not

 diminished by the many, unsupported alternate cause theories Defendants lobbed at trial

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 and again in their post-trial briefs. There was no evidence at trial that herbicide spraying

 in corn, wheat, burndown, rights-of-way, or anything else caused the damage to Bader

 Farms. Likewise, there is no evidence in this case to support a finding that other herbicides

 from neighboring farms or the spraying of any herbicide other than dicamba caused

 Plaintiff’s harm. 2/7/2020 Trial Tr. 1476:17-10 (Baldwin). Dr. Baldwin testified that the

 symptomology is evident on Bader Farms’ peach trees, as well as surrounding indicator

 plants and those observations helped him reach his opinion. Id. at 1466:10-1467:5.

        It is disingenuous for BASF to raise these “alternate causes,” given there is no

 evidence that they exist. There is no evidence that corn and wheat farmers suddenly and

 inexplicably changed their farming practices, yet Defendants pretend applications in corn

 and other uses caused Plaintiff’s damage. One thing changed as Dr. Baldwin said, and

 that’s the introduction of Xtend crops. It is undisputed that the scope and scale of

 dicamba’s use grew exponentially after the release of the Xtend technology, particularly in

 Southeast Missouri. See also 2/6/2020 Trial Tr. 1283:23-1286:2 (Baldwin) (testifying that

 the Xtend system vastly increased the acres sprayed with dicamba, permits much higher

 use rates, altered dicamba’s use from the cool months, as it had been with cereal crops, to

 hot, summer months.). Dr. Baldwin explained that the use rate of dicamba in the past was

 extremely low in Southeast Missouri because of its agricultural makeup. It’s a region that

 doesn’t have much pasture, historically grows little corn, but grows a lot of soybean and

 cotton (the dominant crops in Dunklin County), two crops that are very sensitive to

 dicamba. Id. at 1267:5-22, 1296:8-13; 2/7/2020 Trial Tr. 1478:20-22 (Baldwin).



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        What’s more, dicamba had never been used in the Bootheel as a standalone (or

 foundation) herbicide. 2/6/2020 Trial Tr. 1284:20-1285:3 (Baldwin). That did not happen

 until the release of the Xtend technology. The record is nearly devoid of any evidence of

 off-label applications of herbicides other than dicamba which was sprayed off-label in 2015

 and 2016. The only evidence at trial of a burndown application was regarding a 2015 aerial

 burndown application. 2/5/2020 Trial Tr. 978:11-980:1 (Bader). Mr. Bader testified that

 this burndown application had no lasting effect on the peach trees and by the first of June,

 the trees looked good again. Id. Also, it is undisputed that burndown happens in early

 spring. 2/5/2020 Trial Tr. 1175:13-14 (Bader). Dunklin County farmers, including Bill

 Bader, have been spraying burndown since the early 1980s. Id. at 1175:25-1176:3. In all

 that time, Bader Farms had practically no problems with herbicide injury of any sort. Id.

 at 1175:8-1176:18. With the only two incidents that occurred – a 2,4-D injury in 2008 and

 the 2015 incident – the symptoms presented on the trees within a day or two of exposure.

 Id. at 1175:15-20. These are facts that factored into Dr. Baldwin’s opinion.

        Dr. Baldwin admitted corn is planted around Bader Farms, but testified that he does

 not believe alleged dicamba applications in corn (of which there was zero evidence of at

 trial) are the source of damage to Plaintiff’s orchards. 2/7/2020 Trial Tr. 1507:2-1508:2

 (Baldwin). Dr. Baldwin testified that use of dicamba in cereal crops can occur “at certain

 times,” but not typically in the summer months and not coinciding when farmers spray

 dicamba over the top Xtend crops. 2/6/2020 Trial Tr. 1409:9-1410:15 (Baldwin). Despite

 defense counsel attempting to illicit testimony from Dr. Baldwin that late applications in

 other crops could have impacted Bader Farms, it is clear from Dr. Baldwin’s testimony that

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 this was highly unlikely. Dr. Baldwin is under no obligation to chase to ground every

 imaginary potential alternate cause that Defendants’ lawyers might concoct. Dr. Baldwin

 employed his education, training, observation, and common sense to rule out all plausible

 alternative causes.

        The important factor is not that dicamba can be used, but when it is actually used.

 There is absolutely no dispute that Southeast Missouri summertime weather (high heat and

 humidity) create the perfect environment for an already volatile herbicide to become even

 more so. 1/28/2020 Trial Tr. 381:2-25 (Carey); 2/6/2020 Trial Tr. 1268:24-1269:25

 (Baldwin). Were there any doubt in his mind about his conclusions, he said 2019 “put it

 all together” for him. 2/7/2020 Trial Tr. 1474:2-1475:8 (Baldwin).

        The cases BASF cites are completely irrelevant to the law and the facts of this case.

 Dr. Baldwin conducted a very thorough investigation and established the causal link

 between the rampant spraying of dicamba over the top of Xtend crops from 2015 forward

 and Plaintiff’s injuries. He explained his methodology at trial and, despite defense

 counsel’s cross examination, was unscathed. 2/6/2020 Trial Tr. 1384:1-1385:1, 1366:8-22

 (Baldwin); 2/7/2020 Trial Tr. 1465:3-16, 1466:6-1467:17, 1499:6-1504:12 (Baldwin).

        Finally, it is undisputed that peach trees are sensitive to dicamba. 2/6/20 Trial Tr.

 1427:14-1428:10 (Baldwin). There is no safe level of dicamba for sensitive plants.

 2/7/2020 Trial Tr. 1496:10-1497:13 (Baldwin). With respect to yield, Dr. Baldwin’s role

 was never to quantify the effect dicamba had on Bader Farms’ yield. Rather, his role was

 to establish whether the repeated exposure to dicamba could and did have a negative effect

 on the yield. He concluded it can’t help but have a cumulative effect. Id. at 1497:11-17.

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 To support his conclusions that the repeated exposure of dicamba negatively impacted

 Plaintiff’s yields, Dr. Baldwin considered the only existing dicamba on peach studies

 known to exist (Dr. Bradley’s and Dr. Prostko’s), and his scientific knowledge of dose

 response.   See e.g., 2/6/2020 Trial Tr. 1353:25-1355:3, 1355:25-1356:12 (Baldwin);

 2/7/2020 Trial Tr. 1466:6-1467:17, 1470:2-4, 1488:25-1489:24 (Baldwin).                 His

 conclusions are supported by current research on soybean, a bioindicator plant, about the

 cumulative effect of low doses of dicamba in sensitive plants over time. Id. at 1467:11-17.

 That Dr. Baldwin, or any thinking person, considers this common sense does not mean that

 his conclusions aren’t valid.

                      c. Dr. Baldwin Properly Ruled Out and Ruled In Causes.

        Dr. Baldwin employed accepted scientific methods of an expert in his field to rule

 out and rule in the cause of the damage he observed. As he testified on cross:

        I ruled out certain things. I mean I went there looking for herbicide
        symptomology first. I didn’t start somewhere at the bottom and work up. I
        went there as a weed scientist to render opinion on whether I felt like
        herbicides were affecting – in this particular case, dicamba was affecting his
        peaches. And the symptomology was very evident. And if I had not seen
        symptomology, I’d have been done. But the symptomology was very evident
        every time I went there, and especially in the summertime visits, and I did
        enough to make sure I wasn’t missing anything. But the herbicide
        symptomology itself was overwhelming.

 Id. at 1465:6-16.

        On re-direct, Dr. Baldwin covered the waterfront, testifying about many specific

 alternate causes he ruled out and why. Id. at 1499:6-1504:12; see also 2/6/2020 Trial Tr.

 1366:8-1367:13 (Baldwin). BASF reciting hypothetical, potential alternate causes at this

 stage is improper. If BASF wished to place these matters properly into evidence before

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 the jury it had every opportunity to do so. BASF chose not to offer testimony from its

 experts regarding many supposed potential causes. Asking the Court for “a do-over” at

 this stage is not appropriate and not a basis for a new trial.

         Moreover, contrary to BASF’s interpretation of the law, Dr. Baldwin is not required

 to “rule out” every possible (or impossible) alternative cause Defendants conjure up as a

 potential blame for Bader Farms’ damage. The Eighth Circuit rejects this argument. “We

 have consistently ruled that experts are not required to rule out all possible causes” when

 offering a differential causation opinion. Johnson, 754 F.3d at 557, 563–64 (8th Cir. 2014);

 see also Lauzon v. Seneco Prods., 270 F.3d 681, 693 (8th Cir. 2001) (An “‘expert’s

 causation conclusion should not be excluded because he or she has failed to rule

 out every possible alternative cause.’”) (internal citations omitted); Dejana, 2013 WL

 6768407, at *13, “an expert’s testimony is not precluded by the failure to rule out all other

 possible theories of the event; the possibility of other explanations goes to weight, not

 admissibility, of testimony.”) These cases are instructive, as here, BASF makes the same

 arguments that the Eighth Circuit has rejected.

         BASF’s argument that Dr. Baldwin is required to have experience with Armillaria

 root rot also fails. Experts are not required to have expertise in every alternative cause a

 defendant might blame. See, e.g., Gilliland v. Novartis Pharm. Corp., 34 F. Supp. 3d 960,

 968 (S.D. Iowa 2014) (refusing to require plaintiff’s expert to have expertise in

 osteomyelitis, defendant’s alleged alternate cause of plaintiff’s osteonecrosis of the jaw

 (“ONJ”), because the expert’s opinion was based upon his knowledge and experience with

 ONJ).

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        Dr. Baldwin is not and never claimed to be a “peach expert.” His expertise is in the

 effect of herbicides on sensitive plants.       He was the only expert in the case who

 demonstrated a working knowledge of that. There was no evidence in the case that general

 plant stress, improper tree spacing, orchard replant disease syndrome, or other herbicides

 could have contributed to the decline of Bader Farms’ orchards whatsoever. As for

 drought, Dr. Baldwin testified that 2019 was the wettest spring on record, as the jury filled

 with Southeast Missourians were well aware. 2/7/2020 1474:24-1475:8 (Baldwin). This

 laundry list provided by BASF were not potential causes raised by any one of Defendants’

 three causation expert witnesses. Defense counsel raising these “causes” in a post-trial

 brief is not a proper basis for a new trial.

        Dr. Baldwin’s opinions are based upon an abundance of factual and scientific

 information, rendering them both reliable and helpful to the jury. As the Eighth Circuit

 explained in Johnson, “a differential expert opinion can be reliable even with less than full

 information.” 754 F.3d at 564 (8th Cir. 2014) (quoting In re Paoli R.R. Yard PCB Litig.,

 35 F.3d 717, 759 (3d Cir.1994)). The Court held:

        So even if the district court believed there were better grounds for some
        alternative conclusion (perhaps that the microwave killed any C. sak), or
        there were some flaws in the experts’ methods (for not having tested the
        household environment or that water testing was incomplete), because the
        expert testimony in this case was within “the range where experts might
        reasonably differ,” the jury, not the trial court, should be the one to “decide
        among the conflicting views of different experts.”

 754 F.3d at 564 (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153 (1999)).




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        The record demonstrates that Dr. Baldwin properly ruled in and ruled out a long list

 of alternate causes. BASF is not entitled to a new trial.

               2.     Dr. Baldwin is Qualified to Render All the Opinions He Rendered.

        As discussed in the preceding section, Dr. Baldwin need not be a plant pathologist

 or an expert in Armillaria root rot in order to render his opinion that dicamba sprayed over

 the top of Xtend crops is causing cumulative damage to Plaintiff’s orchards. In fact, the

 testimony of the two pathologists who testified for Defendants at trial undermines BASF’s

 argument that Dr. Baldwin should not have been permitted to testify in this trial. Both

 Defendants’ plant pathologist expert witnesses denied dicamba was affecting Bader Farms.

 Dr. Schnabel vigorously opined that dicamba was having no effect on the trees. 2/12/2020

 Trial Tr. 2148:21-23, 2182:13-15, 2189:2-5, 2212:1-3, 2213:7, 2214:10-11, 2215:9

 (Schnabel). Dr. Schnabel went even further, testifying that he knows what “chemical”

 injury on peach trees looks like and the injury was absent on Plaintiff’s trees. Id. at

 2213:17-19. Thus, if BASF’s pathologist can testify that Bader Farms trees are not being

 damaged by dicamba then certainly Dr. Baldwin can testify that they are, and that the

 dicamba injury is weakening the trees, making them more susceptible to disease,

 pathogens, adverse weather, and other assaults that a healthy tree would resist. 2/6/2020

 Trial Tr. 1296:21-1297:13, 1359:16-24 (Baldwin); 2/7/2020 Trial Tr. 1470:2-16

 (Baldwin). This continual exposure resulted in a reduction in tree viability and yield. Id.;

 2/7/2020 Trial Tr. 1466:10-1467:17, 1488:25-1489:24, 1496:10-1497:13 (Baldwin).

        The scientific literature shows that Armillaria is almost always a secondary

 pathogen. 2/6/2020 Trial Tr. 1359:6-15 (Baldwin); 2/7/2020 Trial Tr. 1454:24-1455:12,

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 1456:18-21, 1457:12-1458:9 (Baldwin). Armillaria has existed in the soil of Southeast

 Missouri for centuries, a fact that BASF’s own expert doesn’t dispute. 2/6/2020 Trial Tr.

 1360:15-21; 2/12/2020 Trial Tr. 2220:5-8 (Schnabel). There’s nothing new about this

 pathogen. BASF’s objection seems to be that Dr. Baldwin is capable of reading scientific

 literature and applying it to the facts of this case. The Court should give no credence to

 BASF’s objection to Dr. Baldwin’s testimony that Armillaria is a secondary pathogen.

 First, three scientific articles support his conclusion.   2/7/2020 Trial Tr. 1455:6-12,

 1456:18-21 (Baldwin). Second, the article Dr. Baldwin relied on that BASF finds most

 objectionable, the one authored by Paul Steiner that BASF now refers to as a “non-peer-

 reviewed paper from a conference in 1976,” (Doc. 582, p. 14) was cited to and relied on

 by both Dr. Brannen and Dr. Schnabel. Expert Report of Dr. Brannen and Dr. Schnabel,

 Exhs. 4 and 5, attached.

       The issue is one of credibility. When asked whether Dr. Baldwin is qualified to

 render an opinion about the cause of Bader Farms’ damage, Dr. Brannen testified, “I agree

 he has the background as far as his weed science credentials. He has very excellent weed

 science credentials, so he can make conclusions. I just disagree with his conclusions…”

 2/10/2020 Trial Tr. 1907:1-7 (Brannen).      The jury, in turn, chose to disagree with

 Defendants, and the jury is the sole judge of credibility at a trial. The jury listened

 attentively to the opinions of all four causation experts in this case and concluded Dr.

 Baldwin’s opinion was the only one that made sense. Their decision should not be

 disturbed.



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               3.     Dr. Baldwin is imminently qualified to testify about volatility,
                      atmospheric loading, and long-range transport of dicamba.

        As noted above, weed scientists routinely research and analyze volatility and long-

 range transport of herbicides.      BASF’s characterization of these topics as purely

 “meteorological” is false. As the Court has already ruled, such matters are firmly within

 Dr. Baldwin’s training and experience. Doc. 275. They are integral to the field of weed

 science. In fact, two of the sources Dr. Baldwin cites in the reliance materials of his Second

 Supplemental and Rebuttal Report are articles published in peer-reviewed climate journals

 in 2019 and both are authored by Dr. Kevin Bradley. Supplemental Rebuttal Expert Report

 of Dr. Baldwin, 12/27/19, Exh. 6, attached (citing Dicamba Applications to Air after

 Application to Soybean under Stable and Nonstable Air Conditions, Journal of

 Environmental Quality, and Inversion Climatology in High-Production Agricultural

 Regions of Missouri and Implications for Pesticide Applications, Journal of Applied

 Meteorology and Climatology). These are subjects that weed scientists study and deal with

 in the field every day. Dr. Baldwin demonstrated the range of his knowledge and

 experience on these subjects at trial.

        In spite of Defendants’ protests, the undisputed record in this case is that

 atmospheric loading, exactly as Dr. Baldwin described, occurs and damaged Bader Farms

 in the manner described by Dr. Baldwin. With regard to the movement of dicamba, its

 volatility characteristic, landscape damage, and atmospheric loading, Dr. Baldwin testified

 as follows:




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       •   In the summer of 2017, the Bootheel experienced unprecedented landscape

           damage caused by in crop use of dicamba, 2/6/2020 Trial Tr. 1315:3-1316:4

           (Baldwin);

       •   Dr. Baldwin defined and explained the phenomenon of atmospheric loading, id.

           at 1316:17-1317:10; 1401:5-8;

       •   Dr. Baldwin offered specific examples of atmospheric loading that have

           occurred in the past, id. at 1317:11-1318:7;

       •   Dr. Baldwin testified, “treating huge acreages at the same time in the same area

           is one of the things that” causes atmospheric loading, id. at 1318:22-25;

       •   Dr. Baldwin testified during his summer of 2017 inspection of Bader Farms, he

           observed landscape damage, id. at 1321:22-1323:4;

       •   Dr. Baldwin testified that landscape damage is a hallmark of over the top

           movement of herbicides, id. at 1323:15-17;

       •   Dr. Baldwin testified that, of all the years he inspected Bader Farms, he observed

           the worst damage in 2018, id. at 1329:4-8;

       •   Dr. Baldwin also testified about temperature inversions and the work that other

           weed scientists, such as Dr. Norsworthy and Dr. Bradley, have done related to

           the effect of temperature inversions in the Bootheel and Northeast Arkansas, id.

           at 1345:23-1347:23;

       •   Although in closing argument, Monsanto’s lawyer referred to Plaintiff’s

           “theory” of temperature inversions, Dr. Baldwin offered testimony about the



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           XtendiMax label and its instruction regarding temperature inversions, id. at

           1348:2-12, 1348:25-1350:23;

       •   Dr. Baldwin opined that it is impossible to tell where volatiles moving in a

           temperature inversion originated, id. at 1350:17-23;

       •   Dr. Baldwin testified that in the Bootheel and Northeast Arkansas, because farms

           are so large and Palmer amaranth grows so quickly, it is impossible to follow the

           label while spraying thousands of acres, id. at 1352:10-24;

       •   Dr. Baldwin vehemently disagreed with Defendants’ claims that academics’

           volatility studies support Defendants’ contention that the new, alleged low

           volatility dicamba herbicides are not causing volatility problems, id. at 1369:9-

           1376:1;

       •   XtendiMax and Engenia are prone to volatilize, id. at 1471:18-21;

       •   Dr. Baldwin testified that tests show dicamba can volatilize 72-96 hours after

           application, id. at 1345:11-18;

       •   Dr. Baldwin testified that the landscape damage at Bader Farms is a combination

           of volatility and physical drift, but it is mostly volatility, id. at 1413:23-1414:3,

           1416:18-25;

       •   In Dr. Baldwin’s experience, landscape damage is always associated with

           temperature inversions and that’s what’s happening at Bader Farms, id. at

           1420:11-20;

       •   It was obvious to Dr. Baldwin that “this wasn’t a point source issue; it was an

           air mass loading issue,” 2/7/20 Trial Tr. 1504:18-24 (Baldwin);

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        •    Volatility can and does present as drift patterns, as he saw at Bader Farms during

             his February 2017 inspection, id. at 1509:3-14.

        Echoing Dr. Baldwin’s position regarding temperature inversions, Dr. Carey

 testified that temperature inversions “absolutely increase the risk of off-target movement,”

 causing the herbicide to move “great distances.” 1/28/2020 Trial Tr. 381:15-25 (Carey).

 Also supporting Dr. Baldwin’s testimony regarding atmospheric loading is BASF’s field

 representative, who referenced the “huge cloud of dicamba” blanketing the Bootheel at a

 time when far less Xtend seed was planted in Southeast Missouri than in later years. Pltf-

 1371 Exh. Plaintiff’s “theory” as BASF calls it, is a reality. Dr. Baldwin was well within

 the range of his knowledge, skill, and expertise testifying on these matters.

        B.      The Court’s Order To Exclude BASF’s Three Undisclosed Witnesses
                Was Correct.

        “The rules governing litigation in federal courts ensure fair and orderly proceedings

 free from prejudicial surprises.” Vanderberg v. Petco Animal Supplies Stores, Inc., 906

 F.3d 698, 699 (8th Cir. 2018). Fed. R. Civ. P. 26(a)(2) establishes the rules pertaining to

 expert witnesses. According to the rules, the “failure to make a timely disclosure is

 equivalent to failure to disclose.”       Mayhall v. Berman & Rabin, P.A., Case No.

 4:13CV00175 AGF, 2013 WL 4496279, *2 (E.D. Mo., Aug. 21, 2013). “[A]n incomplete

 or evasive disclosure also is treated as a failure to disclose.” Id. The rules of disclosure

 are formal and not discretionary. The very purpose of Rule 26(a)(2), which governs

 disclosure of expert witnesses, is:

        to give each side clear notice of who will be giving opinion testimony in the
        respective case-in-chief so that each side can prepare to respond, including

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        taking depositions. A vague cross-reference . . . does not provide that notice.
        This is especially so because counsel often insert vague, ambiguous and
        flexible caveats, reserving the supposed right to call generalized categories
        of witnesses. These insertions have little or no practical effect.

 Castillo v. City and County of San Francisco, 2006 WL 618589, *2 (N.D. Cal. Mar.

 9, 2006).

        The Castillo court went on to say, “Clearcut notice is required.” Id. That did not

 happen in this case. Here, BASF claims its disclosure in the dicamba multidistrict litigation

 (“MDL”), where 18 expert witnesses were disclosed for class certification purposes, was

 effective disclosure in Bader because BASF included “reservation of rights” language in

 its Bader disclosure – reserving the right to call any or all MDL witnesses to the extent that

 witnesses’ testimony was relevant in Bader. BASF’s generalized identification of a

 panoply of witnesses from the MDL does not satisfy the clear dictates of Rule 26(a)(2).

 Despite its assertions, BASF failed to disclose Drs. Gallus, Hewitt, and Jackson as is

 required. It wasn’t until BASF served its Witness List (Doc. 328) on January 7, 2020,

 identifying these three experts as “May Call” witnesses, that Plaintiff had any notion that

 BASF purported to call these witnesses in the instant action. Plaintiff raised the issue with

 the Court, including Plaintiff’s objection to BASF’s untimely and prejudicial attempt to

 identify these witnesses as experts for trial, in the first, off-the-record, pretrial conference

 on January 9, 2020. The next day, Plaintiff filed Plaintiffs’ Motion to Strike Undisclosed

 BASF Expert Witnesses (motion to strike), stating that they were not disclosed as Rule




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 26(a)(2) requires and Plaintiff had not received an expert witness report for any of the three

 witnesses. 5 Doc. 332.

           On January 23, 2020, after full briefing of the issue, the Court granted Plaintiff’s

 motion to strike Drs. Hewitt, Gallus and Jackson. The Court stated:

           I’ve read this very, very closely. It’s clear to the Court that [these witnesses]
           were endorsed as class certification experts. They were not endorsed as
           experts in this specific case except by way of a general endorsement of all
           experts for all purposes. And it’s the Court’s impression that that’s too
           prejudicial to the Plaintiffs. It really . . . amounts to sandbagging I think.

 1/23/2020 Trial Tr. 32:24-33:10 (Court).

           The Court reached the right conclusion. BASF’s attempt to include these witnesses

 as experts in this case was an unfair surprise and prejudicial to Plaintiff, as the Court

 correctly determined. By the time BASF informed Plaintiff that it “May Call” these

 witnesses, the trial date was less than three weeks away. Had BASF’s intention been

 anything other than sandbagging, it would have made a timely disclosure of these witnesses

 as Fed. R. Civ. P. 26(a)(2) requires and as it did with its other expert witnesses, including

 Dan Westberg, who BASF properly designated in both the Bader case and the MDL.

 Rather than properly disclose these three expert witnesses in Bader, by identifying them in

 BASF’s Expert Witness Disclosure for Bader and providing expert reports, BASF

 disclosed the witnesses “as class certification” expert witnesses in the MDL only. BASF

 argued that the following language put Plaintiff on notice of its intention to call Hewitt,

 Gallus, and Jackson as expert witnesses: “BASF reserves the right to rely on the opinions



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     Plaintiff incorporates the arguments it made in its motion to strike (Doc. 332) herein by reference.
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 of experts disclosed by Defendant Monsanto Company, in addition to the opinions of

 experts previously disclosed by Defendants in MDL Docket No. 2820, to the extent those

 opinions are relevant to Bader Farms’ and/or Bill Bader’s claims and/or BASF’s defenses

 in this matter.” This is precisely the catchall, evasive non-disclosures that the Mayhall and

 Castillo courts held violated the rules of procedure.

                1.     The Court Did Not Abuse Its Discretion And Did Not “Punish”
                       BASF.

        The disclosure mandates of Fed. R. Civ. P. 26 “are given teeth by the threat of

 sanctions in Rule 37.” Vanderberg, 906 F.3d at 702. Fed. R. Civ. Pro. 37(c)(1) “provides

 that when a party fails to comply with the disclosure requirements of Rule 26(a), “‘the

 party is not allowed to use that information or witness to supply evidence on motion, at a

 hearing, or at a trial, unless the failure was substantially justified or harmless.’” Id., quoting

 Fed. R. Civ. P. 37(c)(1). The Eighth Circuit has said, “Unlike under Rule 37(b), where a

 district court has broad discretion to fashion its own remedy for a party’s violation of a

 discovery order . . . Rule 37(c)(1) “makes exclusion of the evidence the default, self-

 executing sanction for failure to comply with Rule 26(a).” Id. at 705; see also Musser v.

 Gentiva Health Svcs., 356 F.3d 751, 758 (7th Cir. 2004). The Court did not abuse its

 discretion by striking Drs. Gallus, Hewitt, and Jackson. The Court acted in accordance

 with the rules of procedure and ordered a remedy that was appropriate under the

 circumstances of the case.

        BASF identifies the four factors courts may consider to determine whether an

 exclusion is harmless or substantially justified, but the Eighth Circuit in Vanderberg makes


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 clear that exclusion is the default. Rule 37(c)(1) merely “permits, but does not require,”

 an alternative sanction. Vanderberg, 906 F.3d at 705. The Eighth Circuit’s reasoning in

 that case illustrates why the Court did not abuse its discretion by excluding BASF’s three

 undisclosed expert witnesses.

        In Vanderberg, the plaintiff in a personal injury case against Petco failed to timely

 disclose any retained or treating expert witnesses. In response to written discovery, he

 produced over 500 pages of medical records, the names of treating physicians, including a

 Dr. Petsche and Dr. Verma, treatments provided, the names of treaters from one medical

 facility, and stated: “See medical records for specific treatments and examinations.” Id.

 at 700. Dr. Petsche’s reports included operative reports, but he did not submit an expert

 witness report or summary of facts and opinions. Id. at 700-701. A month after the close

 of discovery, which was two months before trial, Petco filed a motion for summary

 judgment. Id. at 701. In response to the motion, the plaintiff relied on statements in Dr.

 Petsche’s and Dr. Verma’s operative notes. Id. Petco asked the district court to exclude

 the doctors because they were nondisclosed experts. Id. The court granted Petco’s request

 and in turn, granted its motion for summary judgment on the basis that causation of the

 plaintiff’s injuries was an essential element of his claims and such evidence was required

 in order to maintain his claims. Id. at 701-702.

        On appeal, the plaintiff argued the trial court abused its discretion. The Eighth

 Circuit disagreed. The court noted that despite the “production of hundreds of pages of

 medical records, which included operative notes” from the two doctors whose testimony

 the plaintiff sought, the requirements of the rule were not satisfied. Id. at 703. Rule 26

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 requires notice of the information that a party intends to present at trial and the court

 reasoned the plaintiff did not provide that.

        Next the court considered whether the failure to disclose Dr. Petsche as an expert

 witness was “substantially justified” or “harmless.” The Eighth Circuit noted that the trial

 court found it neither substantially justified or harmless; the Eighth Circuit agreed. Id. at

 704. The court said, while the record did not reflect bad faith on the plaintiff’s part, there

 was also “no apparent justification.” Id. Quoting the trial court, the Eighth Circuit noted,

 the plaintiff failed to provide a timely (or untimely) Rule 26 disclosure for Dr. Petsche. Id.

        The court also agreed with the trial court that Petco was “significantly prejudiced”,

 as its summary judgment motion had already been filed, it had not deposed the two treaters

 the plaintiff wanted to use as experts, trial was two months away, and allowing the treaters

 to be experts would have resulted in a continuance of the trial date. Id. The Eighth Circuit’s

 reasoning is applicable here. The court stated:

        We also reject any suggestion that Vanderberg’s failure to adhere to Rule
        26(a)(2) was harmless because Petco should have figured out that he would
        rely on his treating physicians to provide expert testimony on causation. The
        expert witness disclosure requirements would be rendered meaningless if a
        party could ignore them and then claim that the nondisclosure was harmless
        because the other party should have read between the lines. Moreover,
        parties such as Petco are entitled to presume that opposing parties will
        comply with the Rules of Civil Procedure and that experts will be properly
        disclosed in accordance with the rules. ‘Litigants should not have to guess
        who will offer expert testimony; they need knowledge to conduct their
        own discovery and proffer responsive experts. That’s why failure to comply
        with Rule 26(a)(2)(A) leads to the exclusion of expert testimony by a witness
        not identified as an expert.

 Id., quoting Cripe v. Henkel Corp., 858 F.3d 1110, 1112 (7th Cir. 2017) (emphasis

 supplied). The court also rejected the plaintiff’s argument that, because the exclusion of

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 his witnesses dictated a dismissal of the case, the trial court should have imposed a lesser

 sanction. The court acknowledged that when exclusion is “tantamount to dismissal” the

 trial court may need to consider lesser sanctions, the court was unpersuaded that the trial

 court abused its discretion. Id. at 704-705. The court found that the district court

 reasonably concluded that exclusion of the testimony was the only appropriate remedy

 because Petco would have been seriously prejudiced by allowing it. Id. at 705.

        The facts of Vanderberg and this case are strikingly similar and this Court’s decision

 to exclude BASF’s undisclosed expert witnesses was correct, as the Eighth Circuit makes

 clear. BASF’s failure to properly disclose three expert witnesses was not justified as the

 Court has already ruled. Plaintiff will not rehash the arguments it made in its motion to

 strike, but suffice it to say, that BASF’s feeble excuse is without merit.          BASF’s

 designation of Dr. Dan Westberg in Bader and the MDL belies that excuse.

        It is also no excuse to fail to disclose these experts in Bader simply because Ms.

 Randles is a member of the MDL’s Executive Committee. Bader was its own case, with

 its own Case Management Order, on its own separate track, and with issues that were

 specific to Bader. Providing the reports in the MDL but not Bader, with a sweeping

 “reservation of rights” to call any of the 18 witnesses Defendants designated in the MDL,

 is much more egregious than the plaintiff in Vanderberg producing over 500 pages of

 medical documents with a message to “See medical records for specific treatments and

 examinations.” That’s not a proper disclosure. To quote the Eighth Circuit, that’s a

 message to “figure it out.” Bader counsel was entitled to and should have been permitted

 to conduct its own discovery with respect to these experts. Vanderberg, 906 F.3d at 704.

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 BASF’s non-disclosure prevented that. Furthermore, the purpose of the disclosure is to

 give the opposing side notice of who may be called to trial. The Castillo court addressed

 and rejected this type of “reserving a so-called ‘right’ in boilerplate fashion to call any

 expert designated by the other side.” Castillo, 2006 WL 618589 at *1-2. It fails to give

 adequate notice, was not justified, it was a surprise, and prejudiced Plaintiff. 6

        Allowing these witnesses to testify would have seriously prejudiced Plaintiff. Had

 the Court allowed BASF to proceed with these witnesses, Plaintiff, on the eve of trial,

 would have been scrambling to prepare for the testimony of experts Plaintiff had no idea

 would testify. The alternative would have been a continuance, which Plaintiff made clear

 to the Court at every turn it did not want. This case was filed in November 2016, and

 transferred to this Court in December 2016. Plaintiff had waited over three years for a fair

 day in Court and no last-minute “sandbagging” should have been allowed to disrupt the

 efficient pursuit of justice. The Eighth Circuit’s decision in Vanderberg supports this

 conclusion.

               2.      The Exclusion Of These Witnesses Did Not Prejudice BASF.

        There was no prejudice to BASF by the exclusion of these witnesses. First, BASF’s

 own company document, drafted by a BASF employee, confirmed Dr. Baldwin’s

 atmospheric loading opinion. Pltf-1371 Exh., stating, “There must be a huge cloud of




 6
  BASF’s argument that Plaintiff was not surprised also fails because, not only did BASF properly
 designate one of its expert in in the MDL and Bader, but Monsanto did as well. Monsanto
 designated Dr. James Griffin and Tony Schroeder as expert witnesses in the MDL and in Bader
 and unlike BASF, provided timely expert witness reports for both that were Bader-specific, which
 allowed Bader counsel to participate in and depose those witnesses.
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 dicamba blanketing the Missouri bootheel.” If that isn’t an admission that atmospheric

 loading and volatility are real, nothing is. Second, if this information was so important to

 Defendants at trial and so crucial to their defense, these joint venturers and co-Defendants,

 who have a written joint defense agreement, had a properly designated expert at their

 disposal – Monsanto’s expert, Tony Schroeder. In fact, after the Court granted Plaintiff’s

 motion to strike BASF’s untimely experts, the Court inquired whether Defendants had

 other expert witnesses who could testify about the volatility, atmospheric loading, and off-

 site movement topics that BASF was insisting that the three BASF experts would testify

 about, and counsel for Monsanto informed the Court that they did. 1/23/2020 Trial Tr.

 36:1-15. So, contrary to BASF’s assertions that it was prejudiced, it was not because

 Defendants could have easily called Tony Schroeder at trial to rebut Dr. Baldwin’s

 testimony and they did not. They made the decision not to do so and cannot claim the

 result of their own decision is tantamount to prejudice.

        BASF’s contention that allowing these witnesses to testify would not have disrupted

 the order and efficiency of trial is misplaced and beside the point. The immense prejudice

 to Plaintiff that would have occurred with the inclusion of three new expert witnesses is

 the disruption.   As the Eighth Circuit said, “[T]he burdens on parties who are not

 adequately apprised of an opposing party’s experts’ identity and expected testimony are

 also real and costly.” Vanderberg, 906 F.3d at 706. The burden on Plaintiff by allowing

 BASF to proceed would have been unfairly prejudicial and not in accordance with case

 law or the rules of procedure. The Court’s decision to exclude Drs. Gallus, Hewitt, and

 Jackson was the only fair and reasonable result. See Musser, 356 F.3d at 758.

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 II.    THERE WAS NO ERROR IN ADMITTING REPORTS OF DICAMBA
        DAMAGE.

        “A district court's rulings on admissibility of evidence are entitled to great

 deference, and we will reverse only if the district court has committed a clear abuse of

 discretion.” Trickey, 705 F.3d at 806. (citing Safety Nat'l Cas. Corp. v. Austin Resolutions,

 Inc., 639 F.3d 498, 503) (8th Cir. 2011). A jury's verdict must not be disturbed “absent a

 showing that the evidence was so prejudicial as to require a new trial which would be likely

 to produce a different result.” Id. (quotation and citation omitted).

        A.      Other Claims Evidence Was Not Inadmissible Hearsay.

        BASF argues that certain of Plaintiff’s evidence was impermissible hearsay. First,

 much of the evidence BASF claims to be hearsay was not because it was offered for notice,

 not for the truth of the matter asserted. Second, whether evidence is hearsay and if so,

 whether it falls within an exception is within the sound discretion of the trial court.

        But BASF’s primary complaint is the admission of Pltf-2019 Exh., facts and data

 compiled by Dr. Kevin Bradley. After extensive briefing and argument, the Court ruled

 that under Fed. R. Evid. 703, Plaintiff could use the documents. Doc. 512. It was clear to

 the Court, and Plaintiff, that Exhibit 2019 is not inadmissible hearsay because it is both a

 “market quotations, lists, directories, or other compilations that are generally relied on by

 the public or by persons in particular occupations” (Fed. R. Evid. 803(17)) 7 and a statement



 7
   See, e.g., United States v. Woods, 321 F.3d 361 (3rd Cir. 2003) (“As with other hearsay exceptions,
 the admissibility of market reports and commercial publications under Rule 803(17) is predicated
 on the two factors of necessity and reliability. Necessity lies in the fact that if this evidence is to
 be obtained, it must come from the compilation, since the task of finding every person who had a
 hand in making the report would be impossible. Reliability is assured because the compilers know
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 in a learned treatise (Fed. R. Evid. 803(18)). Pltf-2019 Exh. was also admissible pursuant

 to Fed. R. Evid. 807 for the reasons discussed below.

        BASF objects to two additional exhibits, Pltf-605 Exh. (1/29/20 Trial Tr. 462:8-14

 (Carey)) and Pltf-199 Exh. (1/29/20 Trial Tr. 565:25-566:3 (Carey)). However, both

 exhibits were admitted solely for notice and not for the truth of the matter asserted. All the

 above-mentioned exhibits were used to show that Defendants knew damage complaints

 were being made—and took little to no action. Thus, even if such evidence was hearsay,

 it was all properly admissible for notice. Estate of Thompson v. Kawasaki Heavy Indus.,

 291 F.R.D. 297, 308 (N.D. Iowa 2013) (complaints are “not necessarily offered for their

 truth, but may be offered to prove the defendant’s notice of defects, the defendant’s ability

 to correct known defects, the magnitude of the danger, the product’s lack of safety for

 intended uses or causation.”).

        BASF’s argument that this evidence fails to qualify as notice because they do not

 involve “substantially similar” circumstances is absurd. The Court, both at the pretrial

 conference and during trial, indicated that it found the off-target movement complaints

 made by soybean farmers that are reflected in the facts and data compiled by Dr. Bradley

 to be substantially similar to the off-target movement complaints made by Plaintiff.

        The propensity of dicamba to move off-target has nothing to do with whether the

 neighboring land is planted in soybeans or peach trees. The fact that thousands of off-

 target movement complaints have been reported by soybean farmers is relevant to whether


 that their work will be consulted; if it is inaccurate, the public or the trade will cease consulting
 their product.”) (quoting 5 Weinstein's Federal Evidence § 803.19[1] (Matthew Bender 2002).
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 dicamba (including XtendiMax and Engenia) can and did move off-target onto Plaintiff’s

 peach trees.   These are at least substantially similar, if not identical, issues. The other

 supposedly different “circumstances” BASF alludes to – the extent, nature, degree, and

 causes of alleged symptomology, the dicamba herbicide applied, and related issues are

 certainly similar if not identical to issues presented in this case. The facts and data

 compiled by Dr. Bradley are directly relevant to the issues presented in this case, and were

 correctly allowed into evidence.

        The Eighth Circuit recently rejected the same type of similarity BASF suggests is

 required. See Adams v. Toyota Motor Corp., 867 F.3d 903, 913 (8th Cir. 2017) In Adams,

 Toyota argued the district court erred in allowing evidence of incidents of unintended

 acceleration. Toyota argued the other incidents lacked the requisite similarity to the

 plaintiff’s incident The Eighth Circuit rejected Toyota’s argument, stating, “there are no

 hard or fast rules as to what degree of similarity there must be to make the evidence

 admissible”, rather, “the appropriate focus is on all of the circumstances surrounding . . .

 the evidence.” Id. (internal citations omitted).

        Even the cases BASF cites recognize that substantially similar circumstances

 warrant the admission of evidence—even when not perfectly identical. See Drabik v.

 Stanley-Bostitch, Inc., 997 F.2d 496, 508 (8th Cir. 1993) (finding no error in admitting

 evidence of head, foot, and leg injuries to other individuals by a nailer in a head and brain

 injury case); First Sec. Bank v. Union Pac. R.R. Co., 152 F.3d 877, 879 (8th Cir. 1998)

 (admitting a prior auto/train accident as substantially similar).



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        Indeed, in Olson v. Ford Motor Co., the Court actually excluded the specifics of

 customer complaints as hearsay. 410 F.Supp.2d 855,861-862 (D.N.D. 2006). It further

 held that “introduction into evidence of the specific details of the customer complaints

 would not only be a waste of time, it would confuse and mislead the jury and be prejudicial

 to Ford.” Id. at 864. Instead, the court allowed the plaintiff to present evidence of

 complaints as notice to show the defendant received the complaints and was on notice of

 the allegations in the complaints. Id. at 863-864. However, the plaintiff was “prohibited

 from introducing the specific details of the complaints.” Id. at 864. Finally, the court held

 that the plaintiff could “reference the number of ‘substantially similar’ customer

 complaints received to establish notice and for purposes of explaining the factual basis of

 an expert’s opinion.” Id. at 865. This is exactly what the Court did in Bader.

        BASF’s position that Pltf-2019 Exh. does not constitute notice because it is after the

 “incident” at issue occurred is also misguided. Doc. 582, p. 30. Notice is not solely limited

 to a failure to warn of a products’ defects. Estate of Thompson v. Kawasaki Heavy Indus.,

 291 F.R.D. 297. Notice goes to Plaintiff’s negligence claims despite BASF’s case cites

 narrowly applying it to failure to warn claims in cases where a specific device resulted in

 a one-time injury. 8 This notice including, but not limited to, Dr. Bradley’s data, while

 received by BASF, resulted in no useful action by BASF to reduce the danger. BASF’s

 determination to do nothing to reduce of harm to farmers despite the ever accumulating

 weight of notice it received constitutes a breach of duty. Each year that the Xtend


 8
  See Bachtel v. Taser Int’l, Inc., 2013 WL 317538 (E.D. Mo. Jan. 28, 2013) (plaintiff alleged a
 Taser was a substantial contributing factor in her son’s death).
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 technology was on the market, including in 2017 forward, the damage to Bader Farms

 continued. Therefore, there is no bright line as to post-sale, as the sales continued.

        B.     The Court Properly Admitted Exhibit Pltf-2019 Under Fed. R. Evid.
               703.

        The Court has broad discretion regarding the admissibility of evidence “and a

 determination that the probative value of certain evidence outweighs any potential unfair

 prejudice is also a matter within the discretion of the trial judge.” Smith v. Firestone Tire

 & Rubber Co., 755 F.2d. 129, 134 (8th Cir. 1985) (citations omitted) (emphasis in original).

        Fed. R. Evid. 703 addresses the importance of allowing experts to testify about the

 bases for their opinions - even if some bases would otherwise be inadmissible - in “helping

 the jury evaluate the opinion” of the expert. The Advisory Committee Notes to Rule 703

 further recognize the importance of allowing an expert to testify about the bases for his

 opinions in his direct testimony where, like here, it is anticipated that the opponent likely

 will seek to undermine the foundation of the experts’ opinions on cross-examination:

        Moreover, in some circumstances the proponent might wish to disclose
        information that is relied upon by the expert in order to “remove the sting”
        from the opponent’s anticipated attack, and thereby prevent the jury from
        drawing an unfair negative inference. The trial court should take this
        consideration into account in applying the balancing test provided by this
        amendment.

 Fed. R. Evid. 703 advisory committee’s notes to 2000 amendments (emphasis supplied).

        The Court carefully considered multiple rounds of briefing and argument regarding

 Dr. Bradley’s data contained in Pltf-2019 Exh. and other exhibits. The Court found the

 data admissible on notice. 2/6/20 Trial Tr. 1182:24. The Court also found, “this is the kind


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 of information, facts, or data that the expert has been made aware of and that, as an expert

 of the field of weed science, that he would reasonably rely on this kind of evidence. I agree

 with that altogether.” Id. at 1237:12-15. The Court found it was “completely relevant.”

 Id. at 1238:24. The Court based its ruling to allow the evidence on Fed. R. Evid. 703,

 finding the “probative value in helping the jury evaluate the opinions substantially

 outweighs their prejudicial effect.” Id. at 1239:22-1240:2.

        Dr. Baldwin is not a mouthpiece for Dr. Bradley and Dr. Bradley was not an expert

 witness who Defendants were precluded from examining. Dr. Bradley is an independent,

 academic scientist who compiled this data in the course of his work and whose data is relied

 on by experts in his field (Dr. Baldwin among them), the EPA, and even Monsanto. That

 data was relevant to and indistinguishable from the facts of the case. Dr. Baldwin

 reasonably relied on Dr. Bradley’s facts and data compilations in providing his opinions,

 as he is permitted to do under Rule 703. Dr. Baldwin also testified that the facts and data

 contained in these maps are the types of facts and data reasonably relied upon by experts

 in the field. 2/6/20 Trial Tr. 1309:14-24 (Baldwin). Rule 703 permits those facts and data

 compilations to be shown to the jury in order to help the jury understand the underlying

 bases for Dr. Baldwin’s opinions. This important justification for allowing an expert to

 refer to otherwise inadmissible evidence is expressly recognized in Rule 703 and in the

 Advisory Committee Notes.       The probative value far exceeds any supposed prejudicial

 effect, which BASF has not shown.

        At trial, Dr. Baldwin thoroughly explained Dr. Bradley’s methodology and walked

 through the data, making its relevance clear. 2/6/2020 Trial Tr. 1308:24-1315:8 (Baldwin).

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 And he made clear that the numbers were estimates. Id. at 1312:15-18. Dr. Baldwin clearly

 explained the difference between alleged and confirmed complaints, which was

 documented in the data relied upon. Id. at 1309:3-13. He specifically explained the nature

 of the data as identified by the titles of the maps. Id. at 1312:15-1313:4. He also testified

 from his own personal knowledge that the number of alleged complaints in Arkansas was

 ultimately found to be very close to the number of confirmed cases of dicamba damage.

 2/7/20 Trial Tr. 1511:13-1512:9 (Baldwin).

        As Plaintiff has said in prior briefing and argument, and as the Court is aware, this

 data is reliable and widely relied on by other scientists. As discussed in prior briefing on

 this issue, this data has been cited and relied on in at least six published academic journals

 and other scholarly literature. Doc. 429, pp. 4-5 . Monsanto relied on it in 2018, when

 working to get its XtendiMax label re-registered with the EPA. Doc. 354, p. 26. And the

 data is discussed and cited in two EPA documents that BASF admitted into evidence at

 trial. B-979, 980 Exhs.

        Defendants cannot rely on Dr. Bradley’s data when they find it convenient to do so

 and dispute that same data when they find it inconvenient. If Dr. Bradley’s data was

 sufficiently reliable to be cited by Monsanto to the EPA and cited by the EPA in its reports,

 it is nonsensical to argue it is not reliable enough to be shown to a jury.

        At trial, no evidence was presented from any source challenging the reliability of

 Dr. Bradley’s data. The probative value of the data far outweighs any prejudicial effect.

 The information was not cumulative because there is no other information as broad

 reaching or widely cited on this issue. 2/6/2020 Trial Tr. at 1309:25-1310:4 (Baldwin).

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 Thus, there is no question that Dr. Baldwin could rely on it in forming his opinions. See

 Fed. R. Evid. 703. And Rule 703 authorized the information to be disclosed to the jury.

        There was no prejudice to Defendants.          Monsanto and BASF counsel cross

 examined Dr. Baldwin extensively about the data and its reliability. 2/6/20 Trial Tr.

 1432:25-1437:7 (Baldwin); 2/7/20 Trial Tr. 1484:4-1485:19 (Baldwin). In addition, Dr.

 Carey testified that the fact that a claim was made does not mean there was actual dicamba

 damage. 1/29/20 Trial Tr. 597:1-14, 599:3-6 (Carey). The likelihood that any jury

 confusion occurred about how the facts and data were compiled by Dr. Bradley and the

 reasons Dr. Baldwin relied on that data is nonexistent.

        There is little question that Defendants on cross-examination sought to undermine

 the foundation of Dr. Baldwin’s opinions in this case. The rationale set forth in the

 Advisory Committee Notes is directly applicable to Dr. Baldwin’s testimony on direct

 about the bases for his opinions. The Advisory Committee Notes to Rule 703 expressly

 recognize this: “Of course, an adversary’s attack on an expert’s basis will often open the

 door to a proponent’s rebuttal with information that was reasonably relied upon by the

 expert, even if that information would not have been disclosable under the balancing test

 provided in this amendment.” Id. (emphasis supplied).

        BASF’s continuous assertions that the data contained in Pltf-2019 Exh. is unreliable,

 it could not challenge the data, and the data was prejudicial are meritless. There was neither

 prejudice nor hearsay, and defense counsel cross examined Dr. Baldwin at length. In

 addition, as discussed below, the Court gave two limiting instructions on these issues

 during trial. 1/30/20 Trial Tr. 710:12-23 (Carey); 2/6/20 Trial Tr. 1340:17-25 (Baldwin).

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 There was simply no prejudice to Defendants, as the probative value outweighed any

 prejudicial effect. United States v. Walker, 470 F.3d 1271, 1275 (8th Cir. 2006).

        C.     There Is Absolutely No Justification For A New Trial.

        BASF’s claim of error is moot in light of Defendants presenting their own actual

 hearsay evidence in the form of anecdotal hearsay accounts of farmers allegedly expressing

 desire or support for the Xtend system and the massive stack of complaints Monsanto’s

 counsel used during opining statement and cross examination of Dr. Baldwin. 2/6/20 Trial

 Tr. 1432:25-1437:7 (Baldwin); 1/27/20 Trial Tr. 200:12-201:4 (Opening); 2/14/20 Trial

 Tr. 2496:1-24 (Closing).

        BASF’s argument that the complaint information contained in Pltf-2019 Exh. was

 the one piece of evidence that single-handedly led to the jury’s verdict has no merit. Doc.

 582, p. 35. There was no one piece of evidence that led to the jury’s verdict. The jury

 viewed the evidence as a whole and found it more probably true than not true that

 Defendants’ conduct led to the damages at Bader Farms. The jury found Plaintiff’s

 evidence compelling and credible, while Defendants’ was not. Dr. Baldwin credibly

 provided extensive testimony of the damage he saw at Bader Farms and its cause. 2/6/20

 Trial Tr. 1295:14-1296:7, 1305:17-1306:21, 1325:12-1326:20, 1330:1-23, 1334:18-25,

 1335:23-1336:15, 1342:1-2, 1343:12-17 (Baldwin). His testimony included powerful

 maps of sales data showing Xtend purchases around Bader Farms. Id. at 1299:11-25,

 1301:17-1302:1, 1316:7-16, 1323:21-1324:4.        And, Engenia sales data for Dunklin

 County, where Bader Farms is located, shows 100 purchasers, including Bader Farms’



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 neighbors. 2/7/20 Trial Tr. 1505:11-21 (Baldwin). The damage was so widescale, farmers

 started planting defensively. 2/6/20 Trial Tr. 1376:2-18 (Baldwin).

        In addition to the legion of complaints about admission of Pltf-2019 Exh. into

 evidence, BASF has identified several trial transcript citations that it claims show Plaintiff

 quoting “extensively” from the document. However, some of those citations do not apply

 to Pltf-2019 Exh. For example, the testimony attributed to Dr. Carey (1/30/20 Trial Tr.

 763:17-18 (Carey)) is not regarding Pltf-2019 Exh.–which is blatantly obvious because it

 involves 2018 and 2019, which are not in Pltf-2019 Exh. But more importantly, no

 Defendant objected to that testimony. The argument at 2/14/20 Trial Tr. 2467:16-17 was

 a direct reference to Dr. Carey’s testimony regarding his chart estimating expected claims.

        In order to avoid any potential prejudice to Defendants, the Court gave two limiting

 instructions regarding this evidence:

        Ladies and gentlemen, I'm going to read to you a limiting instruction at this
        time. Plaintiff has introduced certain documents and reports regarding
        unconfirmed incidents of off-target movement of dicamba that the witness
        Dr. Ford Baldwin relied on in forming his opinions. I instruct you that those
        documents are not evidence of and you should not consider them evidence
        of the truth of the information contained in those documents.

 2/6/20 Trial Tr. 1340:17-25 (Baldwin).

        Plaintiff has introduced certain documents that it contends are evidence that
        Monsanto was given notice of certain claimed and unconfirmed incidents of
        off-target movement and illegal use of dicamba. I instruct you that those
        documents are not evidence of, and you should not consider them evidence
        of, the truth of the information contained in those documents. You may
        consider those documents and testimony related to those documents only for
        the limited purpose of determining whether or not Monsanto had notice of
        what was being reported, but not as evidence of the accuracy or truth of what
        was being reported.


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 1/30/20 Trial Tr. 710:12-23 (Carey).

        The Court’s determination that the “probative value in helping the jury evaluate the

 opinions substantially outweighs their prejudicial effect” is “afforded substantial

 deference.” United States v. Walker, 470 F.3d 1271, 1275 (8th Cir. 2006). “A limiting

 instruction diminishes the danger of unfair prejudice arising from the admission of the

 evidence.” Id. Moreover, a jury is presumed to follow a court’s limiting instruction.

 Bradshaw v. FFE Transp. Servs., 715 F.3d 1104, 1109 (8th Cir. 2013). BASF’s concerns

 were obviated by these limiting instructions. Estate of Thompson v. Kawasaki Heavy

 Indus., 291 F.R.D. at 308.

        The jury was fully capable of understanding this evidence as instructed. The Court’s

 admission of this evidence was fully within its discretion and there was no “gross abuse of

 discretion resulting in fundamental unfairness.” Bradshaw v. FFE Transp. Servs., 715 F.3d

 1104, 1108 (citations omitted). A new trial is not warranted. 9

 III.   THE COURT PROPERLY INSTRUCTED THE JURY CONSISTENT WITH
        MISSOURI LAW.

        The Court spent many days over the course of several weeks listening to argument,

 reviewing briefing submitted by the parties, and working to craft jury instructions that

 correctly instructed the jury on the law as it applies to the case tried by the parties. The

 Court’s Herculean effort was successful.




 9
   During Plaintiff counsel’s punitive damages closing argument, neither the complaints, nor any
 other evidence related to Defendants’ conduct from 2017 forward, was mentioned at all. Thus, it
 is inconceivable that this data influenced the jury’s punitive damages verdict award in any way.
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        BASF complains that “instructional errors misled the jury about the proper legal

 standards and likely affected this verdict.” Doc. 582, p. 36 (emphasis supplied). Even if

 BASF were correct, which it is not, it would need to show more than likely harm to be

 entitled to a new trial.

        Jury instructions are subject to the harmless error rule, the trial court's judgment will

 be reversed only if the error “adversely affects the substantial rights of the complaining

 party.” Flanigan v. Burlington Northern Inc., 632 F.2d 880, 889 (8th Cir.1980) (citations

 omitted), cert. denied, 450 U.S. 921, 101 S. Ct. 1370, 67 L.Ed.2d 349 (1981). Under this

 rule, the appellant generally has the burden of establishing the prejudicial effect of the trial

 court's refusal to give a requested instruction. Id. “A trial judge is given broad discretion

 in framing the instructions, and will not be disturbed on appeal if the instructions, when

 considered as a whole, adequately and sufficiently state the law applicable to the case.”

 Bizzle v. McKesson Corp., 961 F.2d 719, 722 (8th Cir. 1992) (citing Roth v. Black & Decker

 United States, Inc., 737 F.2d 779, 784 (8th Cir.1984).

        A.      It Was Proper To Instruct The Jury Regarding The Dicamba-Tolerant
                System.

        BASF continues to pretend it is in this case merely as an independent distributor of

 a herbicide. But, as the jury recognized, BASF is in this case because it is a full participant

 in the creation of the dicamba-tolerant system. BASF’s liability rests on four related

 grounds. First, BASF sold a product to be used in the system. Second, BASF is a developer

 and promoter of the system. See Pltf-1075 at 1075.0002 Exh. (“I feel we need to get behind

 Xtend soybeans and promote…then use the momentum to sell Engenia.). Third, BASF is


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 a joint venturer in the development and promotion of the system. See Pltf-1220 at

 1220.0001 Exh. (The deregulation of Monsanto’s dicamba-tolerant soybean seed is critical

 to BASF’s future herbicide opportunity. *** BASF Executive management has pledged to

 support Monsanto in their seed deregulation efforts; as we have a vested interest in their

 success.”). Fourth, BASF is a co-conspirator in the development and promotion of the

 system. See Pltf-1108 at 1108.0005 (“DT System = DT Crop in combination with any DT

 System Crop Protection Product.”).

        Plaintiff’s claims are predicated on BASF’s negligence in the development and

 commercialization of the dicamba-tolerant system and its related joint venture and

 conspiracy with Monsanto. BASF’s attempt to focus on Engenia does not erase its conduct

 in the creation and commercialization of the dicamba-tolerant system. The jury decided a

 negligence case and negligence is based on a defendant’s conduct. Martin v. Survivair

 Respirators, Inc., 298 S.W3d 23, 31 (Mo. Ct. App. 2009) (“The difference between a

 negligence claim and a strict liability claim is the latter focuses on the product, whereas the

 former focuses on the conduct of the defendants.”).

        In this case, BASF’s entire range of conduct in the development and promotion of

 the DT system was submitted to the jury. BASF’s continued insistence that the jury could

 not consider anything other than the intrinsic characteristics of Engenia is the latest in its

 repeated attempts to define Plaintiff’s claims to its own liking.

        Plaintiff’s counsel has always been certain about the theory of its case and the Court

 is clear as well. In spite of documents like Pltf-1108, Defendants remain, or pretend to be,

 confused. As the Court stated during the February 13 jury instruction conference, “I think

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 the confusion results in your [Defendants’] unwillingness to acknowledge that the whole

 claims are based on a system.” 2/13/2020 Trial Tr. 2348:2-3. The Court also stated, “I

 bought into the idea that the product is the system, the dicamba-tolerant system as reflected

 in the defendants’ own documents time and again. And so the system is not just the seeds.

 The system is the dicamba-tolerant seeds, plus the low-volatility corresponding

 herbicides.” 2/13/2020 Trial Tr. 2293:14-18. BASF cannot escape liability with games

 of semantics.

                 1.   BASF’s Reliance Benjamin Moore and Sperry Is Misplaced.

        BASF’s reliance on Benjamin Moore & Co. v. City of St. Louis, 226 S.W.3d 110

 (Mo. 2007) and Sperry v. Bauermeister, Inc., 804 F. Supp. 1134 (E.D. Mo. 1992), aff’d, 4

 F.3d 596 (8th Cir. 1993), is misplaced. For instance, in Benjamin Moore the Court was

 considering whether liability could be imposed on one or more defendants based on a

 market share theory of liability. See Benjamin Moore, 226 S.W.3d at 113. The reason

 Benjamin Moore plaintiffs in were attempting to rely on alternate theories of liability is the

 identities of the suppliers of any of the products could not be determined. See Benjamin

 Moore, 226 S.W.3d at 113 (“The city could not connect any specific defendant to any

 specific abatement project.”). In essence, the issue was whether one of the many named

 defendants’ paint or some other, unnamed manufacturers’ product, caused the plaintiffs’

 injuries.

        Benjamin Moore bears no resemblance to this case. The manufacturers of the

 product at issue in the instant action are known and knowable. Here, the product is the

 dicamba-tolerant system. That is Plaintiff’s theory of the case and that is the case that was

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 submitted to the jury. BASF and Monsanto entered in a joint venture and conspiracy to

 design, manufacture, and sell the system for their mutual benefit. Also, there is no dispute

 that the components of this system were purchased and used by farmers throughout

 Dunklin County, including the area surrounding Bader Farms, beginning in 2015 and

 continuing to present. See e.g., 2/5/2020 Trial Tr. 981:14-982:20, 988:3-989:19 (Bader);

 2/6/2020 Trial Tr. 1292:10-15 (Baldwin); 2/7/2020 Trial Tr. 1476:14-1477:10, 1504:25-

 1505:9 (Baldwin); 2/3/2020 Trial Tr. 853:5-11, 854:19-855:9, 860:8-20 (Cravens); Pltf-

 2007, 2008, 2009, 2010 Exhs. The sales records, product use maps, and witness testimony

 identify sales and use of the Xtend system in close proximity to Plaintiff’s orchards. Id.

        Defendants’ system was designed for the very purpose of allowing dicamba to be

 sprayed over the top during the growing season, whereas prior to that, over the top spraying

 could not occur. 1/29/2020 Trial Tr. 417:8-23, 417:24-418:8 (Carey). Defendants knew

 this would (and did) change how dicamba was sprayed: both when it would be sprayed,

 and the proximity of it spraying to emerged crops. In other words, Defendants’ Xtend

 system was designed to and did completely change the role of dicamba in farming. 10 This

 change, or to be more precise, Defendants’ actions of ushering in this change – not the

 specific type of dicamba sprayed, when, and where – is the basis of liability. BASF



 10
    Dr. Baldwin testified that, prior to the release of the Xtend seed, dicamba’s national use was
 very limited to 35 million acres and a consumption of roughly 6 million pounds. 2/6/2020 Trial
 Tr. 1266:18-1267:4 (Baldwin). Usage in Southeast Missouri and Northeast Arkansas were far
 below the national average. Id. at 1267:20-22. By 2017, with release of the complete system, use
 increased dramatically. Pltf-2019 Exh. And as Dr. Carey concedes, after the Xtend technology,
 use increased exponentially to roughly 60 million pounds a year by 2018, all because of Xtend.
 1/30/2020 Trial Tr. 757:12-759:10, 759:13-22 (Carey).


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 understood there would be liability for its actions and planned to defend in court. Pltf-

 502.0002 Exh.

        Second, and more importantly, the claims Plaintiff submitted to the jury were

 negligent design and failure to warn. Doc. 544. While the Court expressed its belief that

 Benjamin Moore would apply in a pure products liability case, it stated that such

 application does not extend to a negligence case. 2/13/2020 Trial Tr. at 2294:19-25.

 Instruction No. 7, which is from the Missouri Approved Instructions (“MAI”), defined

 negligence for the jury. The first element of Instruction No. 10, the negligent design and

 negligent failure to warn instruction for 2017 to present, instructed the jury to find in favor

 of Plaintiff and against BASF and/or Monsanto if it believed that the Defendants

 “individually or jointly with another defendant designed, manufactured, or sold any one or

 more component of the dicamba-tolerant system”. Doc. 554.

        In its criticism of Instruction No. 10, BASF chooses to disregard the portion of the

 instruction that allows the jury to consider its joint actions with Monsanto. But those joint

 actions gave rise to the dicamba-tolerant system. The jury understood this and rendered a

 verdict reflecting those facts.

        Sperry is distinguishable because the evidence in Sperry “clearly shows that the

 defendant was not the designer, manufacturer, or installer of the entire mill system”. Sperry

 v. Bauermeister, Inc., 804 F. Supp. 1134, 1139 (E.D. Mo. 1992), aff’d, 4 F.3d 596 (8th Cir.

 1993). In this case, Plaintiff alleged that BASF and Monsanto were joint venturers and

 coconspirators in the development and launch of the entire dicamba-tolerant system.



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 Instruction No. 10 correctly reflected the joint nature of the endeavor. Because BASF was

 a designer of the dicamba-tolerant system, liability attaches under Sperry.

        B.     Jury Instruction No. 11 Correctly Instructed the Jury on Damages.

               3.     Businesses in Missouri May Properly Recover Damages for Lost
                      Profits.

        BASF cites a host of cases for the proposition that the “general rule is that the

 measure of damages for trees which are not valuable for timber is the injury to the land

 caused by destroying them.” Doc. 582, p. 41 (quoting Barnes v. Arkansas-Missouri Power

 Co., 281 S.W. 93, 95 (Mo. Ct. App. 1926). The Barnes court, explaining the rationale for

 the “general rule” stated, “[t]his rule is based on the obvious reason that the value of such

 trees, considered apart from the land, would not be adequate compensation for the

 trespass.” Id. Clearly that logic is not applicable to the situation facing Bader Farms, first

 because this is not a trespass case, and second because Bader Farms does not own the land

 on which its trees grow.

        Dr. Guenthner’s calculations made clear the value of the Bader Farms orchards is

 in neither the timber nor the value of the land, but in the profits generated by harvesting

 peaches from the trees year in and year out. Dr. Guenthner testified regarding net present

 value of Bader Farms’ peach blocks as they existed in 2015, prior to dicamba striking them.

 2/7/2020 Trial Tr. 1552:15-21; Pltf-2196 Exh. He also testified regarding the net present

 value of the 2016-2019 peach tree plantings. Id. at 1552:22-1553:9; Pltf-2196 Exh. Dr.

 Guenthner also explained to the jury how he used the expected profits from peach harvests




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 to reach his conclusions regarding the net present value of the peach blocks. Id. at 1533:5-

 1534:7.

        In contrast, the Barnes court explains the value of a tree as part of the realty is the

 appropriate measure of damages for shade and ornamental trees:

        The measure of damages in this character of cause where damages are sought
        for the destruction of a tree used for shade or ornament is the difference in
        the market value of the premises on which the tree is growing with and
        without the tree. This, after all, it seems to us, is the value of the tree because
        of its peculiar place and location on the premises. A tree in the back yard,
        among others, though a beautiful ornament and shade, might be of less value
        to the premises than a tree in the front yard, and well located, though of less
        beauty and less valuable as cordwood.

 Barnes v. Arkansas-Missouri Power Co., 281 S.W. 93, 95 (Mo. App. 1926).

        Of course, the value of the Bader Farms orchards has nothing to do with how the

 trees look in their particular places on the property. The value, and thus the damage, stems

 from the lost profits resulting from the inability of the trees to produce peach crops. Hence,

 the appropriate measure of damages was submitted by Plaintiff based on Dr. Guenthner’s

 calculations.

        BASF also cites a series of trespass cases for the proposition that damages stemming

 from the loss of future crops are prohibited because of the “uncertainty and speculative

 nature of such a claim.” Doc. 582, p. 40 ( quoting Beaty v. N.W. Elec. Power Co-op., Inc.,

 312 S.W.2d 369, 372 (Mo. App. 1958)). However, a month after the Beaty opinion was

 issued, the Missouri Supreme Court, in Myers v. Karchmer, 313 S.W.2d 697 (Mo. 1958),

 allowed a plaintiff to recover damages for future lost farm earnings in a negligence action.




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        The plaintiff in Myers was a 65-year old farmer rendered permanently and totally

 disabled in an automobile wreck. Id. at 700, 704. The defendants argued Mr. Myers’s

 claim for future lost farming profits were “a matter of speculation and conjecture.” Id. at

 704. The plaintiff presented evidence his earnings were from the operation of two farms

 and livestock sales. Id. at 705. He also presented evidence of his gross and net annual

 earnings. Id. The court held: “There was substantial evidence that plaintiff, by reason of

 the injuries, would sustain a loss of future earnings. The amount of such future earnings

 was for the jury on the evidence presented.” Id. at 705. In this case, we presented

 substantial evidence of Bader Farms’ loss of future earnings, and the amount of loss was

 for the jury.

        In Beckett v. Kiepe, 369 S.W.2d 258 (Mo. App. 1963), a farmer again claimed he

 was unable to farm due to injuries caused by defendant. Id. at 262-63. Defendants objected

 to an award of damages based on the loss of future crops. Id. at 262. The court held the

 plaintiff could recover for those losses by introducing evidence of the loss of crops based

 on a proper foundation of prior crops planted, yield, and similar conditions. Id. at 262-63.

        Dr. Guenthner testified to a reasonable degree of agricultural economic certainty by

 comparing actual profits to what was reasonably expected. 2/7/2020 Trial Tr. 1528:2-

 1529:13 (Guenthner). In calculating costs, he relied on university budgets, which is the

 same method used by banks when making loan determinations. Id. at1548:5-1549:21. Dr.

 Guenthner also reduced the damage number to account for 2015-2018 revenues. Id. at

 1571:24-1572:19. Dr. Guenthner also considered the impact of adverse weather on future

 harvests. Id. at 1601:18-1602:9, 1618:21-25, 1636:9-1637:2. As in Beckett, a proper

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 foundation was laid as a basis for the jury to award damages for the loss of income from

 the orchard.

        BASF states the “Eighth Circuit recently affirmed this long-standing [value of land]

 measure of damages in Keller v. McGarity Flying Service, LLC, 944 F.3d 975, 982 (8th

 Cir. 2019).” Doc. 582, p. 41. BASF fails to mention that Keller specifically limited that

 valuation method to damage claims under RSMo. § 537.340 “for injury to trees that ‘have

 no substantial market value’ if cut down- such as ‘trees used for a windbreak, and

 ornamental or shade trees.” Id. at 981 (citing Barnes, 281 S.W. at 95-96). The Keller court

 also stated “the particular facts and circumstances of each case dictate the applicable

 measure of damages. In cases involving claims under section 537.340 for damage to

 windbreak or ornamental trees, Missouri courts have instructed that the applicable measure

 of damages ‘must be distinguished’ from the measure of damages applicable in other

 situations.” Id. at 982 (citations omitted). Because Dr. Guenthner provided detailed

 testimony establishing the amount of Bader Farms’ damages to a reasonable degree of

 economic certainty based on well-supported profitability calculations, this is just the kind

 of situation that “must be distinguished.”

         Other cases have also allowed plaintiffs to recover for damage to future crops. In

 In re Genetically Modified Rice Litigation, Bayer argued that plaintiff’s future damages

 were too uncertain and speculative. 2010 WL 4643265, *1 (E.D. Mo. Nov. 9, 2010). The

 court rejected Bayer’s arguments, finding that “plaintiff provided evidence based on

 plaintiff's actual yields, government crop data, and accepted economic calculations to



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 demonstrate that it suffered market loss, future, and alternative crop yield and crop variety

 damages.” This approach is consistent with the Missouri law on damages.

          Moreover, recovering for loss of business profits is widely accepted in Missouri

 jurisprudence. In tort cases “involving damage to persons, property or businesses, a party

 requests damages for loss of business profits.” Ameristar Jet Charter, Inc. v. Dodson Int'l

 Parts, Inc., 155 S.W.3d 50, 54 (Mo. banc 2005). Missouri courts have held plaintiffs may

 be compensated for any damages plaintiffs sustained and are reasonably certain to sustain

 in the future as a direct result 11 of another party’s actions. Shady Valley Park & Pool v.

 Fred Weber, Inc., 913 S.W.2d 28, 34-35 (Mo. App. 1995). For example, in a negligence

 action, which Plaintiff has pleaded here, a “plaintiff may recover damages which are the

 direct or proximate result of the occurrence.” Id. at 35.

          "The goal of awarding damages is to compensate a party for a legally recognized

 loss." Ameristar Jet, 155 S.W.3d at 54. "The particular facts and circumstances of each

 case dictate which measure of damages is appropriate." Gee v. Payne, 939 S.W.2d 383,

 385 (Mo. App. 1997). "The proper measure of damages is a question of law for

 determination by the trial court." Id.; Green v. Study, 286 S.W.3d 236, 242 (Mo. App.

 2009).

          In Shady Valley, the plaintiff dug two lakes on its property, stocked them with fish,

 and operated wholesale fish hauling and fee fishing businesses. 913 S.W.2d 28. The



 11
   In this case, Plaintiff is entitled to recover for damages Defendants “directly caused or directly
 contributed to cause.” See M.A.I. 19.01; Carlson v. K-Mart, 979 S.W.2d 145, 146 – 47 (Mo. banc
 1988).
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 defendant was in charge of a highway construction project that resulted in mud and silt

 flowing into the lakes, forcing the closure of the businesses. Id. Shady Valley is very

 similar to the Bader case. As a result of the defendant’s actions, the Shady Valley plaintiff

 lost extensive tree cover and a deep vegetative mat and suffered mud and silt in its lakes,

 which killed the fish. Id. Shady Valley lost contracts and customers for both the supply

 of fish and fee fishing experiences. Id. Although the defendant argued damages were

 limited to the value of the property, the court ruled the injury was not just to the lakes but

 also to the businesses. Id. at 34-35. Accordingly, the proper measure of damages included

 future losses attributable to the business closure. Id.

        Contrary to BASF’s assertions, there is no one-size-fits-all standard in Missouri

 when it comes to damages. Just as it was appropriate in Shady Valley to recover for all

 damages proximately caused by the negligence, not just those to real property, Bader Farms

 can recover for all damages Defendants’ wrong-doing contributed to cause. Id. at 34-35.

 Missouri courts consistently recognize that prospective profits lost due to property damage

 are recoverable. See Volume Services, Inc., v. C.F. Murphy & Associates, Inc., 656 S.W.2d

 785 (Mo. App. 1983).

        Lost profits determinations are not an exact science, but that is not a bar to their

 recovery. Gateway Foam Insulators, Inc. v. Jokerst Paving & Contracting, Inc., 279

 S.W.3d 179, 186 (Mo. banc 2009). “Where damages are in the nature of lost profits, all

 that can be required is to produce all relevant facts tending to show the extent of

 damages[.]” Smith Moore & Co. J.L. v. Mason Realty & Inv., Inc., 817 S.W.2d 530, 534



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 (Mo. App. E.D.1991) (citing Gasser v. John Knox Village, 761 S.W.2d 728, 731[1] (Mo.

 App. 1988).   Bader Farms did exactly that at trial.

               4.     MAI 4.01 Was The Appropriate Damage Instruction.

        In BASF’s continuing effort to recast Plaintiff’s case as seeking to recover only for

 property damage, it again asserts MAI 4.02 should have been given to the jury. If Bader

 Farms had only brought a claim for property damage, MAI 4.02 would have been the

 appropriate instruction. As MAI 4.02 Notes on Use state: “This instruction should be used

 in cases involving property damage only.”         However, because Bader Farms sought

 damages beyond property damage, the use of MAI 4.02 would have been improper.

        Like the defendant in Shady Valley, BASF mischaracterizes Plaintiff’s claim as

 being only for damages to real property. Recognizing the damage to the fish business,

 the Shady Valley court did not limit the plaintiff’s recovery to damages to its real property

 because the damages had gone “beyond mere property loss.” Id. at 35. As a result, the court

 held that it was proper to submit a damages instruction based on MAI 4.01 to the jury. Id. at

 34–35; see also Rotert v. Peabody Coal Co., 513 S.W.2d 667, 677 (Mo. App. 1974)

 (holding lost profits resulting from death of pigs properly submitted under MAI 4.01).

        Additionally, Bader Farms submitted a claim for mitigation expenses. 2/5/2020

 Trial Tr. 1152:1-11 (Bader); 2/7/2020 Trial Tr. 1569:25-1570:12 (Guenthner); Pltf-2196

 Exh. Those mitigation expenses included application of micronutrients and other nutrients

 not normally applied to an agricultural crop. Id. Mitigation expenses are not elements of

 property damage and not properly submitted under MAI 4.02.



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        Even if Plaintiff had brought a claim for property damage, City of Kennett v. Akers,

 564 S.W.2d 41 (Mo. 1978), makes clear the mitigation expenses would have made the use

 of MAI 4.02 improper.       In Akers, the court stated that “[a]ny reasonable expenses

 proximately resulting from damage to property are usually a proper element of recovery

 and such expenses are not to be classified as property loss or property damage.” Id. at 50

 (citations omitted). In Akers, the plaintiff sought recovery for the cost of loading a

 damaged transformer for transportation to a repair site and the labor cost of moving the

 damaged transformer out and the repaired one into a substation. The Akers court held

 “MAI No. 4.02, which is to be applied where damages involve property damage only was

 not proper in this instance. Damages were correctly submitted under the more general MAI

 No. 4.01.” Id. (citations omitted).

        It is clear that MAI 4.01 is the only proper damage instruction for the claims Bader

 Farms pleaded and proved. This Court did not err.

        C.     The Joint Venture Instruction (Instruction 16) Was Free Of Error.

               1.     The Joint Venture Correctly Applied Missouri Law.

        This Court has already correctly held more than once that Missouri law applies to

 Plaintiff’s joint venture claim. Doc. 453, Order, at 3-4. Missouri law applies here because

 Plaintiffs were injured by Defendants’ joint venture in Missouri. Thi v. Schneider Nat'l

 Carriers, Inc., 2005 WL 1703116, at *1 (W.D. Mo. July 18, 2005) (for tort claims,

 Missouri applies the most significant relationship test as defined in the Restatement

 (Second) of Conflict of Laws). The fact that two of several agreements between BASF

 and Monsanto have narrow New York choice of law provisions is irrelevant. Those two

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 agreements do not exclusively evidence the joint venture, and those provisions only pertain

 to disputes between BASF and Monsanto concerning the agreement itself, not tort claims

 by third-party farmers who did not sign Defendants’ contract. See, e.g., Inacom Corp. v.

 Sears, Roebuck & Co., 254 F.3d 683, 687 (8th Cir. 2001) (Choice of law provision that

 “Agreement shall be governed by and construed in accordance with [Illinois law]”

 adequately covers disputes concerning how to construe the contract, but not broad enough

 to govern torts and “does not address the entirety of the parties’ relationship.”); A.D. v.

 Credit One Bank, N.A., 885 F.3d 1054, 1064 n.14 (7th Cir. 2018) (“We already have

 concluded that A.D. is not a party to the cardholder agreement, and generally, choice-of-

 law clauses in contracts do not apply to non-parties.”).

        As this Court held in denying BASF’s motion to reconsider, “If this case presented

 an issue between BASF and Monsanto regarding one of the pertinent contracts, then it is

 clear that New York law applies to govern the contract. However, the question here is

 whether the defendants were engaged in an implied joint venture, based on their actions

 and not necessarily on the written agreements alone. The contracts’ choice of law provision

 does not apply to third parties whose claims sound in tort.” Doc. 453, Order, at 3-4 (citing

 Inacom Corp., 254 F.3d at 688; Jeff-Cole Quarries, Inc. v. Bell, 454 S.W.2d 5, 14-15 (Mo.

 1970)).

        BASF’s argument that “Defendants contemplated that their relationship would be

 governed by New York law, and New York requires that joint venturers share losses” is

 not compelling. BASF argued in summary judgment briefing that New York law and

 Missouri law on joint venture were effectively the same. So, it is disingenuous to now

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 suggest BASF “contemplated” New York law would apply to impose a stricter “loss

 sharing” requirement. Doc. 219, BASF Mem. at 12, n.2. Only after this Court denied

 summary judgment and noted that “the requirement of shared losses is not a strict one under

 Missouri law” did BASF decide this Court is required to apply New York law. Doc. 323,

 BASF Mem. at 5. BASF is incorrect. Moreover, any expectation BASF had that its

 relationship with Monsanto would be governed by New York law is not shared by

 Monsanto, who does not dispute Missouri law applies to this claim.

               2.     “Shared Pecuniary Interest” Correctly States The Law.

        The elements of a joint venture include (1) “an express or implied agreement among

 members of the association,” (2) “a common purpose to be carried out by the members,”

 (3) “a community of pecuniary interest in that purpose,” and (4) an “equal voice” among

 all members “in determining the direction of the enterprise.” Ritter v. BJC Barnes Jewish

 Christian Health Sys., 987 S.W.2d 377, 387 (Mo. App. 1999). This is the law. Missouri

 does not require a strict “duty to share in losses,” so what BASF demands is error. BASF’s

 dissatisfaction with Missouri’s lack of a strict “loss sharing” requirement does not make

 Instruction 16 confusing or improper.

        In fact, BASF had an opportunity during closing to explain to the jury what “shared

 pecuniary interest” means under Missouri law, and BASF’s counsel grossly misrepresented

 the law:

        You will see the instruction that says "shared pecuniary interest" and "equal
        voice." Now those are not everyday terms. Shared pecuniary interest is
        another way of saying shared profits and losses. They are in it together. If
        they lose money, we lose money. If they make money – they sold the seed,
        and you have heard some of the figures about how much seed they sold.

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        BASF did not get half of that money. There was no share of profits and
        losses and there was no equal voice.

                                             ***

        Pecuniary interests are shared profits and losses. That was not happening
        here. Royalties are not the same as profits.

        If you have a joint venture you have a business together. Businesses
        mean you create an entity, you have a board of directors, you have
        common employees, you pool your assets. All of these issues.

        MR. RANDLES: Your Honor, I object. The Court says in the instructions
        what the elements of a joint venture are. None of these are included.

        THE COURT: The jury will be guided by the evidence presented and the
        instructions on the law.

        MR. MANDLER: To have a joint venture you still have to operate a
        business. Shared pecuniary interest means a business. Shared control means
        a business. And at the end of the day, BASF and Monsanto were not running
        a business together.

 02/14/2020 Trial Tr. 2528:12-20; 2530:24-2531:15 (BASF Closing).

        BASF cannot now be heard to complain that it believes the jury might have been

 confused by the phrase “shared pecuniary interest.” Any possible confusion—though there

 was none—was of its own making and to its own benefit.

               3.     The Preponderance Of The Evidence Standard Applies.

        This Court has thoroughly analyzed Missouri law and concluded a “preponderance

 of the evidence” standard, not a “clear and convincing standard,” applies to Plaintiff’s joint

 venture claim. (Doc. 453, Order, at 1-3) (analyzing applicable Missouri precedent); see

 also Morley v. Square, Inc., 4:10-CV-2243-SNLJ, 2016 WL 1615676, *7 (E.D. Mo. Apr.

 22, 2016) (citing Grissum v. Reesman, 505 S.W.2d 81, 86 (Mo. 1974)). This Court

 reasoned:

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        [A]s this Court painstakingly set out in Morley v. Square, Inc., 4:10CV2243
        SNLJ 2016 WL 1615676 (E.D. Mo. Apr. 22, 2016), although Grissum is the
        most recent Missouri Supreme Court pronouncement, the rule has been
        frequently misstated. Per Grissum, 505 S.W.2d at 86, the rule in Missouri is
        that

                 [a] preponderance of the evidence is necessary and sufficient to prove
                 a joint adventure. The clear and convincing standard, then, is simply
                 the exception to the general rule for [cases involving an oral contract
                 to convey real estate or a resulting trust in real property].

        Morley, 2016 WL 1615676, at *7 (internal citation omitted). Grissum relied
        on Brooks v. Brooks, 208 S.W.3d 279 (Mo. 1948), which in turn relied on 48
        C.J.S. Joint Adventures, § 12 (1965), for the general rule that a
        “preponderance of the evidence is necessary and sufficient to prove a joint
        adventure.” Id. at 284.

 Doc. 453, Order, at 2 (citing Grissum v. Reesman, 505 S.W.2d 81, 86 (Mo. 1974)).

        This Court went on to explain the error in Cutcliff v. Reuter, 889 F.3d 491, 495 (8th

 Cir. 2018), upon which BASF and Monsanto continue to rely. Id. at 3 (Cutcliff “notes that

 a partnership must be proved by ‘clear, cogent, and convincing evidence,’ but omits the

 later passage in Morrison that includes the phrase ‘. . .or at least by a preponderance of the

 evidence.’”).

        As this Court recognized, the Missouri Supreme Court has not reversed Grissum,

 and this Court is bound to follow the most recent Missouri Supreme Court pronouncement.

 Id. Defendants’ painful and repeated reliance on the apparent misstep in Cutcliff does not

 change Missouri law. Accordingly, the “preponderance of the evidence” standard applies.

 There is no error in the joint venture instruction.

        D.       Instruction 17 Correctly Instructed On Civil Conspiracy.

        BASF is critical of Instruction No. 17 because it does not specifically require the

 jury to find that BASF and Monsanto “agreed to pursue [an] unlawful [objective]” and that
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 they “committed one or more acts in furtherance of the unlawful objective,” as did the

 instruction it submitted. Doc. 582, p. 51. BASF goes on to complain about the instruction

 because it “permitted the jury to find a conspiracy based on the lawful development and

 commercialization of herbicide and seed products.” Id. at 52. Remarkably, this argument

 is made immediately below BASF’s recognition that the “unlawful objective” conspiracy

 element can be satisfied by “an agreement or understanding between two persons to do an

 unlawful act, or to use unlawful means to do an act which is lawful.” Id. at 51.

        Instruction No. 17 satisfies the “unlawful objective” element by allowing a finding

 of civil conspiracy for doing a lawful act by unlawful means. The agreement to develop

 and commercialize the dicamba-tolerant system was, admittedly, lawful. However, using

 off-target movement and damage to third-party farmers to increase sales is an unlawful

 means. See Enstein v. Di Mase, 2017 WL 3129812 (W.D. Mo. July 21, 2017) (“A

 conspiracy to ‘injure or destroy the trade, business or occupation of another is an unlawful

 conspiracy.’” (quoting Envirotech, Inc. v. Thomas, 259 S.W.3d 577, 587 (Mo. Ct. App.

 2008)); see also Pltf-22, 1009 Exhs.

        So, Instruction No. 17 only allowed a conspiracy finding if: 1) the jury found BASF

 and Monsanto “agreed to develop and commercialize the dicamba tolerant system”; and 2)

 BASF and Monsanto made the agreement “with the expectation that off-target movement

 and damage to third-party farmers would increase sales of their dicamba-based products.”

 In other words, the jury had to find that BASF and Monsanto agreed to do a lawful act

 using unlawful means, which satisfies the unlawful element under Missouri law. Because



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 BASF is wrong about the omission of an element of the claim, it’s argument regarding

 prejudice fails.

        Since MAI does not contain an instruction for civil conspiracy, Plaintiff submitted

 an instruction tracking the instruction approved in Haynes v. Hawkeye Security Insurance

 Co., 579 S.W.2d 693, 705 (Mo. App. 1979) 12. The defendant in Haynes, like BASF in this

 case, complained because the instruction made no mention of unlawfulness or illegality.

 Id. at 705 - 706. The Haynes court pointed out that inclusion of such a hypothesis “would

 have been erroneous as being argumentative.” Id. at 706.

        So, in this case, the Court provided the jury with an instruction that contained all of

 the elements required to find a conspiracy and avoided error by rejecting BASF’s proffered

 conspiracy instruction, which required a finding of some hypothesized unlawful objective.

 Doc. 545, Instruction LL. BASF’s request for a new trial should be rejected.

 IV.    JOINT VENTURER LIABILITY FOR PUNITIVE DAMAGES IS THE LAW
        IN MISSOURI: ANYTHING ELSE IS ERROR.

        BASF was not prejudiced by the Court’s notification during trial that Missouri law

 holds joint venturers jointly liable for punitive damages. BASF has known of Plaintiff’s

 joint venture and punitive damages claims throughout the course of this lawsuit and trial,



 12
    Rule 70.02(b) states that “where there is no applicable MAI so that an instruction not in MAI
 must be given, then ... such instructions shall be simple, brief, impartial, free from argument, and
 shall not submit to the jury or require findings of detailed evidentiary facts.” A not-in-MAI
 instruction, therefore, is reviewed to determine “whether the jury [could] understand the
 instruction and whether the instruction follows applicable substantive law by submitting the
 ultimate facts required to sustain a verdict.” Seitz v. Lemay Bank and Tr. Co., 959 S.W.2d 458,
 462 (Mo. 1998).


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 and BASF has invariably defended against every allegation that any conduct occurred in

 the scope of a joint venture. That advocacy did not turn to complacency upon the Court’s

 prior, limited motion to dismiss ruling: nor was complacency replaced with urgency (or

 any apparent shift in strategy, complaint of prejudice, record objection, or request to offer

 additional evidence) when this Court advised joint liability is the law. That’s because there

 was never any prejudice.

         BASF previously filed a motion to dismiss Plaintiff’s claim for joint and several

 punitive damages liability. Doc. 178, at 14-15. Plaintiff responded that BASF and

 Monsanto should both be liable for the punitive damages flowing from their joint venture

 and conspiracy. Doc. 182, at 23, (“There is no doubt, based on the allegations in this case

 and prior orders of this Court, that if Plaintiffs’ claims based on common action by these

 two Defendants are sustained by a jury, Plaintiffs would be entitled to punitive damages

 against both Defendants.”). Plaintiff went on to state, “However, to the extent BASF is

 asking that the jury separately determine the amount of punitive damages assessed between

 Monsanto and BASF, Plaintiffs have no objection.” Id.

        In the context of these representations, this Court granted BASF’s motion to dismiss

 Plaintiff’s joint liability punitive damages claim and denied BASF’s motion to dismiss

 Plaintiff’s several liability punitive damages claim. Doc. 191, at 15-16.

        Subsequently, during trial but before the close of the evidence, 13 this Court advised

 the parties that Missouri law, as articulated in Blanks v. Fluor, provides joint venturers are


 13
    Plaintiff’s trial team recall the Court advising counsel for all parties about Blanks during an
 instruction conference earlier in the week, prior to the close of evidence. In any event, the timing
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 jointly liable for punitive damages. Therefore, this Court instructed the parties it would

 allow Plaintiff’s joint liability punitive damages claim if the jury found Defendants acted

 in a joint venture. This is consistent with Missouri law. Blanks v. Fluor Corp., 450 S.W.3d

 308, 401–02 (Mo. Ct. App. 2014) (citing R. S. Mo. § 353.150) (In Missouri, all joint

 venturers are jointly and severally liable for everything chargeable to the joint venture,

 including punitive damages). This is not optional or discretionary, and BASF’s post-trial

 objections cannot change well-settled law.

         As this Court already held, this rule derives from the Uniform Partnership Act and

 applies equally to punitive damages. Doc. 572, Memorandum and Order, at 5 (citing §

 358.130 RSMo (emphasis supplied); Blanks, 450 S.W.3d at 401-02. The Court in Blanks

 explained, “[u]nder Missouri law, partners are vicariously liable for punitive damages

 based on acts of their copartners done in the course of partnership business.” Id. (citing

 Rogers v. Hickerson, 716 S.W.2d 439, 447 (Mo. App. S.D. 1986). Moreover, “[t]his

 liability attaches even if partners did not participate in, ratify, or have knowledge of the

 activity giving rise to the award of punitive damages.” Id. (citing Rogers, 716 S.W.2d at

 447).

         Contrary to BASF’s argument, where a joint venture is found, there is no

 requirement in Missouri for the jury to assess the individual culpability of each joint

 venturer. Blanks, 450 S.W.3d at 402. “Given that the partnership is liable for penalties

 incurred by a partner for acts done in the course of the partnership’s business, including


 is irrelevant because it had no impact on the scope of relevant evidence or the vigor with which
 any party argued for or against a finding of joint venture.
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 punitive damages, and that partners are liable for everything chargeable to the partnership,

 proof of individual culpability is not required.” Id. (emphasis supplied).

        The court in Blanks cited approvingly the Eighth Circuit’s application of Missouri

 law in Blue v. Rose, 786 F.2d 349 (8th Cir. 1986), in which the Court held that “the verdict

 and judgment for compensatory damages against partners liable for the willful torts of

 copartners must be in one amount against all jointly sued partners.” Blue, 786 F.2d at

 352. The Court further held:

        The above principles are applicable where an award of punitive damages is
        based upon actions by one or more partners acting within the scope of
        authority and in furtherance of the partnership business, as in the present
        case. In such a situation, under the general principles of agency and
        partnership law, all the partners could be held jointly liable for the punitive
        damages, and a single sum verdict is warranted.

 Id. at 352–53 (Where “the tortious acts were clearly performed within the scope of

 partnership authority and business… the single sum verdict and judgment as to punitive

 and compensatory damages was proper.”). 14



 14
    BASF incorrectly states that Blue v. Rose precludes admissibility of Monsanto’s net worth if
 BASF is held jointly liable for punitive damages. This is not correct. The facts in Blue, and the
 case it relies upon State ex rel. Hall v. Cook, involved situations where multiple defendants are all
 named on the punitive damage verdict form, and the jury is asked to render a verdict against all in
 a single sum. In that narrow situation, when the jury is deciding what is appropriate to punish
 multiple defendants in one sum, evidence of an individual partner’s net worth is inadmissible. See
 State ex rel. Hall v. Cook, 400 S.W.2d 39, 42 (Mo. 1966) (“Evidence of wealth of one defendant
 would be improper” “when the submission as to punitive damages was to be for a verdict against
 all jointly for the same amount.”) (emphasis supplied).

 However, here, BASF was not on the punitive damages verdict director, it remained silent during
 Phase II, and the jury instructions directed the jury to only consider what was necessary “to punish
 Defendant Monsanto Company for the conduct for which [it] found that Defendant Monsanto
 Company is liable for punitive damages(.)” Doc. 559, Instruction 20. In this instance, evidence
 of Monsanto’s net worth is admissible.
                                                  64
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        Here, the jury held that Monsanto and BASF were acting in a joint venture as to

 claims in Verdict Form A, including Monsanto’s Negligent Design or Failure to Warn

 2015-2016. Doc. 551, Verdict Form B. By operation of law, therefore, BASF is jointly

 and severally liable for the punitive damages assessed against Monsanto for this claim.

 There is no legal basis or requirement to individually assess the conduct or culpability of

 BASF, other than to conclude Monsanto and BASF were acting in a joint venture as defined

 in Instruction 16—and the jury did this.

        Unquestionably aware of this Court’s ruling before the jury instructions were

 finalized and approved, BASF did not ask that the jury separately determine the

 amount of punitive damages assessed between Monsanto and BASF, it did not object to

 Verdict Form B’s direction that allocation is only required if the jury finds “NO” joint

 venture and “NO” conspiracy, and BASF did not propose any Verdict Form that would

 require the jury to compare or allocate fault or separately assess punitive damages between

 Monsanto and BASF at all.

        BASF is not “substantially prejudiced” as it argues: it is not prejudiced at all.

 Surely, BASF is not announcing it would have tried harder to avoid a joint venture finding

 had it known earlier about Blanks. BASF spent virtually its entire breath at trial denying

 the existence of a joint venture, denying it had anything at all to do with Xtend seed—least

 of all Monsanto’s decision to launch it in 2015 and 2016. BASF elicited testimony from




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 virtually every witness that BASF played no role in Monsanto’s decision to launch the

 seed. BASF repeatedly argued and elicited testimony that, unlike Monsanto, it agreed to

 work with academics. Why? Because these were hotly contested issues throughout the

 trial with or without joint liability. There is no prejudice. There is only operation of

 Missouri law and the requirement to give legal effect to the jury’s joint venture and punitive

 damages findings.

 V.     THE JURY’S PUNITIVE DAMAGES AWARD IS SUPPORTED BY THE
        EVIDENCE.

        A.     BASF’s Due Process Rights Were Not Violated By Imposition Of
               Punitive Damages.

        BASF’s “due process” arguments are mainly repackaged arguments made in

 Section IV, supra. For all the same reasons BASF was not prejudiced by this Court’s

 decision to allow joint liability for punitive damages under Missouri joint venture law,

 BASF’s due process rights have not been violated. The Court’s judgment reflecting

 Missouri law does not entitle BASF to a new trial. BASF decided to enter into a

 relationship with Monsanto, the characteristics of which meet the elements of a joint

 venture. With that decision, BASF gave up any right it had to be treated differently or

 evaluated separately from Monsanto in the imposition of punitive damages flowing from

 the joint venture. The cases BASF cites do not help it. See, e.g., Pac. Mut. Life Ins. Co. v.

 Haslip, 499 U.S. 1, 20 (1991) (Imposition of punitive damages against corporation for acts

 of its agent under respondeat superior—without any independent finding of fault—did not

 violate corporation’s due process rights or the state’s interest in “meaningful individualized

 assessment of appropriate deterrence and retribution.”); State Farm Mut. Auto. Ins. Co. v.

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 Campbell, 538 U.S. 408, 416 (2003) (saying nothing about a co-partner or co-joint

 venturer’s entitlement to an individualized determination of punitive damages).

        BASF argues, based on its own conjecture, that the jury’s punitive damages award

 was the result of passion or prejudice. The size of the punitive damage award is not proof

 the jury was improperly motivated by passion or prejudice, it is proof the jury found the

 conduct at issue outrageous and reprehensible and determined “strong medicine” was

 needed to punish and deter such a recalcitrant company with enormous wealth.

        “Absent exceptional circumstances not present here, [reviewing courts] assume that

 the jury understood and properly applied the court’s instructions.” Banks v. Koehring Co.,

 538 F.2d 176, 179–80 (8th Cir. 1976) (citing Barnes v. Omark Industries, Inc., 369 F.2d 4,

 11 (8th Cir. 1966)). BASF’s displeasure with the amount is not evidence the jury ignored

 the instructions. Id. (“Defendant’s disagreement with the jury’s view of the facts” does not

 mean the verdict is inconsistent with the instructions).

        There is no justification for a new trial.

        B.     The Jury’s $250 Million Punitive Award Is Appropriate Given The
               Reprehensibility Of The Conduct And The Amount Needed To Punish
               And Deter.

        BASF’s Gore analysis is flawed at the outset because the relevant inquiry pertains

 to Monsanto’s conduct, its reprehensibility, and the amount needed “to punish Defendant

 Monsanto Company for the conduct for which [the jury] found that Defendant Monsanto

 Company is liable for punitive damages(.)” Doc. 559, Instruction 20. While Plaintiff

 agrees BASF’s conduct was reprehensible and its net worth is larger than Monsanto’s, that

 is not the relevant due process assessment. Plaintiff’s arguments supporting the propriety

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 and constitutionality of the jury’s punitive damages award are set forth, in their entirety, in

 Plaintiff’s Opposition to Monsanto Company’s Renewed Motion For Judgment As A

 Matter Of Law On Punitive Damages Or, In The Alternative, Motion For A New Trial Or

 Remittitur. Plaintiff incorporates that brief fully here by reference.

        To determine if a punitive damages award comports with due process, Missouri and

 Federal courts look at three guideposts: “(1) the reprehensibility of the defendant's

 misconduct; (2) the disparity between the harm suffered and the amount of punitive

 damages awarded; and (3) the difference between the punitive damages awarded in the

 case compared to the amount of awards awarded and penalties imposed in similar

 cases.” Poage v. Crane Co., 523 S.W.3d 496, 522–23 (Mo. Ct. App. 2017) (applying the

 three “Gore” guideposts articulated by the United States Supreme Court in State Farm, 538

 U.S. at 418, 123 S.Ct. 1513).

        The first guidepost, the “reprehensibility of the conduct,” is the most important

 consideration and given the most weight. Id. at 523 (citing State Farm, 538 U.S. at 419,

 123 S.Ct. 1513). Punitive damages should reflect the enormity of the offense, and “some

 wrongs are more blameworthy than others.” Blanks, 450 S.W.3d at 410 (citing BMW of

 N. Am., Inc. v. Gore, 517 U.S. 559, 575, 116 S.Ct. 1589 (1996)). For instance, “an incident

 that is recidivistic can be punished more harshly than an isolated incident.” Id.

 (quoting Gore, 517 U.S. at 577, 116 S.Ct. 1589). “Repeated instances of wrongful conduct

 can demonstrate that ‘strong medicine’ is required to deter further repetition.” Id.

        Monsanto’s     conduct    in   carrying     out   the   joint   venture   purpose   (e.g.

 commercialization of the dicamba-tolerant system) was reprehensible. It involved

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 repeated, reckless commercialization decisions, in both 2015 and 2016. Monsanto knew

 that off-label spraying would occur over XtendFlex cotton in 2015 and it did in fact occur.

 And, Monsanto knew off-label spraying would be “rampant” in 2016, and still Monsanto

 proceeded to commercialize Xtend soy in 2016, knowing growers would spray BASF’s

 Clarity over the top. This was no isolated incident or mistake or mere accident; rather, it

 served Monsanto’s (and BASF’s) plan to sell more product. Internal company documents

 reveal “protection from your neighbor” and “defensive planting” (e.g. the threat and

 expectation of injury) would drive sales.

        Furthermore, this reckless indifference spanned a decade, consisted of a pattern of

 repeated misconduct, and constitutes reprehensibility supporting the jury’s award of

 punitive damages. See May v. Nationstar Mortg., LLC, 852 F.3d 806, 814 (8th Cir. 2017)

 (citing Diesel Mach., Inc. v. B.R. Lee Indus., Inc., 418 F.3d 820, 839 (8th Cir. 2005)

 (observing that a pattern of misconduct constitutes repeated actions). Monsanto had

 countless opportunities to stop, heed industry and academic warnings, and protect Bader

 Farms. But, Monsanto chose profits at every turn. This was no mistake. Monsanto’s

 argument that its conduct was “on the low end” of reprehensibility ignores the evidence

 the jury obviously credited. It also suggests that “strong medicine” is, indeed, required to

 deter Monsanto from repeating this conduct with future crop systems. The first guidepost

 supports the jury’s award.

        The second Gore guidepost requires consideration of the ratio of the punitive

 damage award to the harm that either has occurred or is likely to result from Monsanto’s



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 conduct. Blanks, 450 S.W.3d at 411. “High-ratio punitive-damage awards are sometimes

 necessary in order to have a sufficient deterrent effect.” Id.

        The Court in Poage v. Crane Co. explained precisely why the jury’s $250 million

 punitive damages award is proper in this case:

        The threat of a punitive damages award needs to be great enough to dissuade
        a company from engaging in wrongdoing; it needs to be substantial enough
        to create a negative value proposition for the company. Obviously, the risk
        of higher punitive damages awards increases the “cost” in a company’s cost-
        benefit analysis.

 523 S.W.3d 496, 523–24 (Mo. Ct. App. 2017).            Here, the jury heard evidence that

 Monsanto’s net worth in 2018 was $7.8 billion. 02/15/2020 Trial Tr. 3012:17-21. The

 jury concluded $250 million was necessary to sufficiently punish Monsanto’s outrageous

 conduct and deter it and others from similar conduct. This does not shock the conscience

 or set off any alarm bells.

        Missouri courts applying the federal Gore guideposts have upheld punitive damages

 awards in double-digit ratios to compensatory damages, including in instances of multi-

 million-dollar verdicts. See, e.g., Ellison v. O’Reilly Automotive Stores, Inc., 463 S.W.3d

 426, 441-42 (Mo. App. W.D. 2015) (upholding 10:1 ratio, $2,000,000 in punitive damages

 with $200,000 in compensatory damages, in discrimination case); Lynn v. TNT Logistics

 N. Am. Inc., 275 S.W.3d 304, 310-12 (Mo. App. W.D. 2008) (MHRA case where jury

 awarded $6.75 million in punitive damages, $50,000 in compensatory damages, trial court

 remitted the punitive damages to $450,000, and appellate court found the amount of

 remittitur to be abuse of discretion and, considering Gore, increased the punitive damages

 award to $3.75 million—a 75:1 ratio); Mignone v. Missouri Dep’t of Corr., 546 S.W.3d

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 23, 45 (Mo. Ct. App. 2018), reh’g and/or transfer denied (Mar. 22, 2018) (upholding 10:1

 ratio, $1 million punitive damages and $100,000 compensatory damages); Lewellen v.

 Franklin, 441 S.W.3d 136, 148 (Mo. 2014) (ratios of 40:1 and 22:1 were not grossly

 excessive).

        BASF’s suggested punitive damage ratio of 1:1 would punish and deter nothing. It

 would not create a negative value proposition for Monsanto, and it would have no

 noticeable impact on its cost-benefit analysis. In fact, such a low award would likely serve

 to encourage and embolden future reckless commercialization decisions because the

 potential profits from selling an incomplete system would still grossly exceed the costs,

 even with the assessed penalty. 15 Given the particulars of this case, the size of the punitive

 damages award does not violate Monsanto’s due process rights.



 15
    BASF incorrectly argues—with no legal authority—that this Court should evaluate the ratio
 using only 40% of the compensatory damage award (e.g. $6 million) because punitive damages
 were only submitted on the 2015-2016 claim. BASF Mem. at 59, n.28. This is error. The evidence
 at trial showed Bader Farms’ orchard suffered an indivisible injury—numerous exposures over
 consecutive seasons to the same perennial trees, all causing or contributing to cause Bader Farms’
 lost profits and lost future profits. In these instances, while the conduct supporting an award of
 punitive damages can be limited to the 2015-2016 claim, the compensatory damages are not
 apportioned or limited by time period. The Eighth Circuit has explained:

        An indivisible injury has been defined as one which is “incapable of any logical,
        reasonable, or practical division.” Chrysler Corp. v. Todorovich, 580 P.2d 1123,
        1131 (Wyo.1978). Black's Law Dictionary 914 (4th ed. 1968) defines indivisible
        as “not susceptible of division or apportionment; inseparable; entire.” As Professor
        Prosser has observed: “Certain results, by their very nature, are obviously incapable
        of any logical, reasonable or practical division. Death is such a result, and so is a
        broken leg or any single wound, the destruction of a house by fire, or the sinking
        of a barge.” W. Prosser, Handbook of Torts, § 52, at 315 (4th ed. 1971).

 Mitchell v. Volkswagenwerk, AG, 669 F.2d 1199, 1203, n.2 (8th Cir. 1982). Here, Monsanto (and
 BASF) effectively sank the barge. The exposures in 2015-2016 contributed to cause lost profits
 and lost future profits, and injury is not capable of division. This is why the verdict form did not
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        The third Gore guidepost—the relationship between the amount of punitive

 damages awarded and comparable civil penalties or awards—is only relevant when

 comparable civil penalties or awards exist. Most often, that is not the case, and Courts

 disregard this factor. See Poage, 523 S.W.3d at 523 (“The third guidepost is often

 ‘inconsequential’ and difficult to apply.”) (citing Brady v. Curators of Univ. of Missouri,

 213 S.W.3d 101, 111 (Mo. E.D. App. 2006) (“The Southern District of this court

 recognized the difficulty of applying the third guidepost in certain cases.”).

        There is no comparable civil penalty for destroying a family’s peach business. Even

 where an arguably comparable statutory penalty exists (though none does in this case)

 Courts discount this guidepost where the jury imposed a punitive damage award to address

 egregious or repeated misconduct—something the statutes and ordinances rarely

 contemplate. See, e.g., Lewellen, 441 S.W.3d at 148 (Recognizing that “[t]here is no doubt

 that the punitive damages awards in this case are larger than the penalties authorized under

 the MMPA,” but still upholding the 40:1 and 22:1 punitive damages awards based upon

 the other two guideposts due to egregious and repeated misconduct).

        The jury’s punitive damages award comports with due process and should stand.

 VI.    THE VERDICT WAS NOT AGAINST THE WEIGHT OF THE EVIDENCE.

        In its Motion for a New Trial (Doc. No. 582, p.62), BASF argues that it is entitled

 to a new trial pursuant to Fed R Civ. P. 59(a)(1)(A) because the jury’s verdict is against




 call for the jury to apportion damages separately between the 2015-2016 and 2017-present claims.
 The applicable ratio should include the full compensatory award.
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 the weight of the evidence, resulting in a miscarriage of justice, citing Gray v. Bicknell, 86

 F.3d 1472, 1480 (8th Cir. 1996).

        BASF’s passing citation to Gray omits critical aspects of the high standard for being

 granted a new trial, which requires the party seeking it to demonstrate a “miscarriage of

 justice.” In Trickey, the Eighth Circuit upheld Judge Limbaugh’s order denying a motion

 for a new trial, and articulated the proper standard for a new trial in greater detail:

           The district court may grant a new trial when the first trial resulted in a
           miscarriage of justice, through a verdict against the weight of the
           evidence, an excessive damage award, or legal errors at trial. With respect
           to legal errors, a “miscarriage of justice” does not result whenever there
           are inaccuracies or errors at trial; instead, the party seeking a new trial
           must demonstrate that there was prejudicial error. Errors in evidentiary
           rulings are prejudicial only where the error likely affected the jury’s
           verdict.

 705 F.3d 788 (8th Cir. 2013) (citations omitted). See also, King v. Sw. Foodservice

 Excellence, LLC, No. 17-cv-2551, 2019 WL 6115138 (E.D. Mo. Nov. 18, 2019); Keller

 Farms Inc. v. Stewart, No. 16-cv-265, 2018 WL 10322058 (E.D. Mo. Dec. 13, 2018).

        It is almost entirely within the discretion of the trial court whether to grant a new

 trial. See Fed. R. Civ. P. 59(a); Orthoarm, Inc. v. Forestadent USA, Inc., No. 4:06-CV-730-

 CAS, 2008 WL 4681385, at *2 (E.D. Mo. Oct. 21, 2008) (citing Belk v. City of Eldon, 228

 F.3d 872, 878 (8th Cir. 2000)); Leichihman v. Pickwick Int’l, 814 F.2d 1263, 1267 (8th Cir.

 1987). (“A motion for new trial is addressed to the judicial discretion of the district court

 and will not be reversed except for a clear abuse of that discretion.”). Courts within this

 Circuit have further articulated the high standard necessary to satisfy the test for being

 granted a new trial under Rule 59.


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        A.     Weight Of The Evidence.

        “In determining whether or not to grant a new trial, a district judge is not free to

 reweigh the evidence and set aside the jury verdict merely because the jury could have

 drawn different inferences or conclusions or because judges feel that other results are more

 reasonable.” King v. Davis, 980 F.2d 1236, 1237 (8th Cir. 1992) (citing White v. Pence,

 961 F.2d 776, 780 (8th Cir. 1992)). “[T]he ‘trial judge may not usurp the function of a

 jury... [which] weighs the evidence and credibility of witnesses.’” White, 961 F.2d at 780

 (quoting McGee v. S. Pemiscot Sch. Dist., 712 F.2d 339, 344 (8th Cir. 1983)). See also,

 Hogan Logistics, Inc. v. Davis Transfer Co., Inc., No. 4:16-cv-1541 CAS, 2018 WL

 3475532, *2-3 (E.D. Mo. July 19, 2018) citing Manus v. Am. Airlines, Inc., 314 F.3d 968,

 973 (8th Cir. 2003) (the court “may not usurp the role of the jury by granting a new trial

 simply because it believes other inferences and conclusions are more reasonable.”)

 (quotation omitted). “Instead, a district judge must carefully weigh and balance the

 evidence and articulate reasons supporting the judge’s view that a miscarriage of justice

 has occurred.” King, 980 F.2d at 1237. See also Keller Farms, 2018 WL 10322058, at *1-

 2.

        “[T]he prevention of injustice is the overriding principle in deciding whether to

 grant a new trial on the ground that the verdict was against the weight of the evidence.”

 Pickwick Int’l, 814 F.2d at 1267; King, 2019 WL 6115138 at *3. “The court should reject

 a jury’s verdict only where, after a review of all the evidence giving full respect to the

 jury’s verdict, the court is left with a definite and firm conviction that the jury has erred.”

 Ryan v. McDonough Power Equip., Inc., 734 F.2d 385, 387 (8th Cir. 1984). Where

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 reasonable minds can differ in evaluating the credible evidence, a new trial based on the

 weight of the evidence should not be granted. Jacobs Mfg. Co. v. Sam Brown Co., 19 F.3d

 1259, 1267 (8th Cir. 1994) (emphasis supplied); see also, McKee v Reuter, No. 16-cv-207,

 2019 WL 6250845, *5 (E.D. Mo. Nov. 22, 2019)(same); Am. Modern Home Ins. Co. v.

 Thomas, 413 F. Supp. 3d 921, 928 (E.D. Mo. 2019) (same).

        B.     Evidentiary Rulings.

        “An allegedly erroneous evidentiary ruling does not warrant a new trial unless the

 evidence was so prejudicial that a new trial would likely produce a different result.” Burris

 v. Gulf Underwriters Ins. Co., 787 F.3d 875, 880 (8th Cir. 2015) (internal quotation marks

 and citation omitted); Am. Modern Home Ins. Co., 413 F. Supp. 3d at 928; King Sw.

 Foodservice, 2019 WL 6115138, *3.

        C.     The Weight Of The Evidence Supports The Jury Verdict.

        As Plaintiff has already addressed each of the issues raised in this section in its

 oppositions to BASF’s other post-trial motions, Plaintiff refers the Court to that briefing.

               1.     Joint Venture and Conspiracy

        See Sections I and II, Plaintiff’s Opposition to BASF Corporation’s Renewed

 Motion For Judgment As A Matter Of Law.

               2.     Negligent Design and Negligent Failure to Warn

        See Section IV, Plaintiff’s Opposition to BASF Corporation’s Renewed Motion For

 Judgment As A Matter Of Law. See also Section III(A), herein.

               3.     Compensatory Damages

        See Section V, Plaintiff’s Opposition to BASF Corporation’s Renewed Motion For

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 Judgment As A Matter Of Law. See also Section III(B), herein.

               4.     Punitive Damages

               See Section V, herein.

 VII.   THERE IS NO CUMULATIVE PREJUDICE.

        BASF urges the Court to apply the cumulative error doctrine as a basis to grant a

 new trial. Specifically, BASF claims that multiple errors occurred at trial and those errors,

 “piled on top of one another,” had a substantial prejudicial effect on the verdict, rendering

 the trial fundamentally unfair. To support its arguments, BASF relies on Thompson v. City

 of Chi., 722 F.3d 963, 979 (7th Cir.2013), Faught v. Washam, 329 S.W.2d 588, 601-04

 (Mo. 1959), and Myers v. Moffett, 312 S.W.2d 59, 65 (Mo. 1958). But the Eighth Circuit

 has never endorsed the cumulative error doctrine cases in civil litigation.

        As the Ohio Court of Appeals has noted, the Eighth Circuit has not adopted it. See

 Dep’t of Natural Resources v. Ebbing, 28 N.E.3d 682, 714, n.22 (Ohio Ct. App. 2015).

        Among Federal Appellate Courts, this issue is similarly undecided. The Third
        Circuit Court of Appeals has affirmatively stated that it does not apply
        cumulative error in civil cases. See U.S. S.E.C. v. Infinity Group Co., 212 F.3d
        180, 196 (3d Cir.2000). The Fourth, Tenth, and Eleventh Circuits have all
        indicated that their courts have not affirmatively determined the issue of
        whether cumulative error applies in civil cases. See Greig v. Botros, 525
        Fed.Appx. 781, 795 (10th Cir.2013); Esoteric, LLC v. One (1) 2000 Eighty–
        Five Foot Azimut Motor Yacht Named M/V STAR ONE, 478 Fed.Appx. 639,
        641 (11th Cir.2012); Anthony v. Ward, 336 Fed.Appx. 311, 322 (4th
        Cir.2009). On the other hand, the Second, Sixth, Seventh, Ninth, and Federal
        Circuits have all stated that they would apply the cumulative error doctrine in
        civil cases (and some have actually applied it to reverse a judgment). Malek v.
        Federal Ins. Co., 994 F.2d 49, 55 (2d Cir.1993); Kendel v. Local 17–A United
        Food & Commercial Workers, 512 Fed.Appx. 472, 485 (6th Cir.2013);
        Thompson v. City of Chicago, 722 F.3d 963, 979 (7th Cir.2013); Jerden v.



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        Amstutz, 430 F.3d 1231, 1240–41 (9th Cir.2005); Hendler v. United States,
        952 F.2d 1364, 1383 (Fed.Cir.1991).

 Further, it appears unlikely that the Eighth Circuit would apply the cumulative error

 doctrine in civil cases since it has rejected the doctrine for criminal cases. See Middleton

 v. Ropern, 455 F.3d 838, 851 (8th Cir. 2006) (“Second, Middleton’s argument contradicts

 Eighth Circuit precedent. We repeatedly have recognized ‘a habeas petitioner cannot build

 a showing of prejudice on a series of errors, none of which would by itself meet the

 prejudice test.’”) (citation omitted); United States v. Robinson, 301 F.3d 923, 925, n.3 (8th

 Cir. 2002) (recognizing “the numerosity of the alleged deficiencies does not demonstrate

 by itself the necessity for habeas relief,” and noting the Eighth Circuit’s rejection of

 cumulative error doctrine) (citing Wainwright v. Lockhart, 80 F.3d 1226, 1233 (8th Cir.

 1996) (rejecting the argument that cumulative effect of errors alone demonstrated a

 deprivation of fair trial)).

        The two state court cases that BASF relies on for the cumulative error doctrine,

 Fought and Myers, are questionable authority. In Moore v. Ford Motor Co., No. ED-

 92770, 2009 WL 4932736, *6 (Mo. Ct. App. Dec. 22, 2009), aff’d in part, 332 S.W.3d

 749, 769, n.13 (2011), the Missouri Court of Appeals addressed the “two cases more than

 fifty years old” (Fought and Myers) cited by appellant to support their contention that the

 cumulative effect of non-prejudicial errors can be sufficient to show overall prejudice. Id.

 The Court noted “recent cases interpreting that proposition have not found the cumulative

 error argument to be persuasive.” Id. Finding that none of the appellants’ allegations




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 resulted in errors either singly or in combination with each other, the Court upheld the

 denial of the motion for a new trial based on cumulative errors.

        A.      None Of The So-Called Errors Cited By BASF Are Error, And Even If
                They Were, There Was No Prejudice.

        As Plaintiff has already addressed each of the issues raised in this section throughout

 this brief, Plaintiff refers the Court to those specific sections.

                1.     Dr. Baldwin Is An Expert.

        See Section I(A), herein.

                2.     BASF’s Late Identified Experts Were Properly Excluded.

        See Section I(B), herein.

                3.     Evidence of Other Claims Was Proper.

        See Section II(A-C), herein.

                4.     The Court Properly Instructed The Jury As to Damages, Joint
                       Venture, and Conspiracy.

        See Section III(C-D), herein.

                5.     The Court Properly Reversed the Ruling On Joint Punitive
                       Damages.

        See Section IV, herein.

    VIII. CONCLUSION

        For all these reasons, BASF Corporation’s Alternative Motion for New Trial should

 be denied.

 Dated: April 24, 2020.




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